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10 Attorneys for Plaintiffs

11                        UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
12

13 FELTON BROWN, SOPHIA EDWARDS,
   PETER ENZINGER, NOAH LATHROP,                 CASE NO.: 4:22-cv-02840
14 ERROL COOPER, KELLY CUMMINS,
   HUGO ESCOBAR, DANIEL GONZALEZ,                COMPLAINT FOR DAMAGES
15 CHERYL BASI, CHARNELLE RILEY,
   EMANUEL     GONZALEZ,     RICHARD             1.    FRAUD
16 GONZALEZ,     ROSALVA     MENDEZ,                   (MISREPRESENTATION)
   CATHY SILVA, REBECCA VANCE, LONI
17 BAISCH, JESSICA BEHAIN, KENNETH               2.    FRAUD
   BERRY, ERIN CARTER, MARGARET                        (CONCEALMENT)
18 COLES, TRACY ERICKSON, LLOYD
   HARRIS, NONA HARRIS, STEPHANIE                3.    NEGLIGENT
19 JACOBO, ERICKA MARTIN, DAMIEN                       MISREPRESENTATION
   MONTOYA,     NATAHNIEL     PORTER,
20 ROCHELLE  STEPHENS, MAIMOYE    UKU,           4.    VIOLATION OF THE
   CHEARISE BRADFORD, NANNETTE                         CALIFORNIA CONSUMER
21 MYERS, JESUS ARRIAGA, PARIS                         LEGAL REMEDIES ACT
   BROWN, MARCO CARLOS,        BIANCA                  (Cal. Civ. Code §§ 1750, et seq.)
22 DAVIS, TRACY   DAVIS,    RONEISHA
   EVANS, MICHELLE GUEVARA, MONICA               5.    UNFAIR COMPETITION
23 GUIDA,     YANIRA      HERNANDEZ,                   (Cal. Bus. & Prof. Code §§ 17200 et
   MARQUES      HUNTER,     KATHRYN                    seq.)
24 LABRIOLA,  ALBERTO   LARA, ROBERT
   MASON,      RAQUEL       MENDOZA,             6.    FALSE ADVERTISING
25 MARJORIE MOSS, LISA RAMIREZ,                        (Cal. Bus. & Prof. Code §§ 17500, et
   KAYLA RASMUSSEN, KAO SAELEE,                        seq.)
26 BENITO SERRANO, SANDRA SIFONTES,
   MIESHA TOBIN, TIERRA TUBBS,                   7.    CIVIL THEFT
27 SHAMICA WHITTAKER                                   (Cal. Penal Code § 496(c))

28                 Plaintiffs,                   8.    EXEMPLARY DAMAGES
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 1            VS.                                                  (Cal Civ. Code § 3294)
 2 THE UNIVERSITY OF PHOENIX, INC.
   AND APOLLO EDUCATION GROUP, INC                        DEMAND FOR JURY TRIAL
 3
   DOES 1 through 10
 4
                Defendants.
 5      Plaintiffs complain and allege as follows:

 6                                            INTRODUCTION

 7            1.       This lawsuit seeks recovery for Fraud (misrepresentations), Fraud (concealment),

 8 Negligent Misrepresentation, violations of the California Consumer Legal Remedies Act, Unfair

 9 Competition Law, False Advertising Law, Civil Theft, and Exemplary Damages against

10 Defendants THE UNIVERISITY OF PHOENIX, INC. and APOLLO EDUCATION GROUP,

11 INC., and DOES 1 through 10. Since at least 2012, Defendants misrepresented the benefits of

12 attending and graduating from University of Phoenix. Defendants falsely and misleadingly

13 advertised working with certain prominent companies, such as Microsoft and Adobe, to develop

14 curriculum, and relationships with such companies created career or employment opportunities

15 specifically for University of Phoenix graduates. These misrepresentations will be referred to

16 hereinafter as the “Corporate Relationships Representations.” Defendants engaged in this scheme

17 of misleading and false advertising to induce potential students to purchase educational products

18 and services, and to remain students through graduation. Plaintiffs relied on the Corporate
19 Relationships Representations in choosing to purchase educational products and services from

20 University of Phoenix.

21            2.       Plaintiffs make the following allegations pursuant to the investigation of their

22 counsel and based upon information and belief, and personal knowledge of the allegations

23 specifically pertaining to themselves. The basis for allegations made on information and belief

24 includes the Civil Investigation Demand issued by the Federal Trade Commission (FTC) on

25 September 8, 2015, the complaint filed by the FTC against Defendants in the District of Arizona
                                                                    1
26 on December 10, 2019, and the subsequent settlement of that case. The culmination of that matter
27
     1
28       See Federal Trade Commission v. The University of Phoenix, Inc. et al., Case No. CV-19-5772-
                                                       2
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 1 came about as the result of a 4-year investigation undertaken by the FTC that was directly related

 2 to many of the advertisements and marketing schemes described herein, and ultimately results in

 3 a “Record $191 Million Settlement from the University of Phoenix to Resolve FTC Charges It

 4 Used Deceptive Advertising to Attract Prospective Students.”2

 5                   JURISDICTION, VENUE AND DIVISIONAL ASSIGNMENT
 6          3.       This Court has jurisdiction over this action under 28 U.S.C. § 1332 as the parties
 7 are diverse and the amount in controversy exceeds $75,000.

 8          4.       Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)(2) because
 9 a substantial part of the events or omissions giving rise to the claims occurred in this district, and

10 pursuant to 28 U.S.C. §1391(d) because Defendants have sufficient contacts with this district to

11 be subject to personal jurisdiction.

12          5.       Pursuant to Civil Local Rule 3-2(d), Divisional Assignment is proper in the
13 Oakland Division as a substantial part of the events or omissions giving rise to Plaintiffs’ claims

14 occurred in counties served by the Oakland Division.

15                                               PARTIES
16            6.     Plaintiff Felton Brown was at all relevant times a resident of San Francisco,
17 California. Plaintiff enrolled in University of Phoenix in 2012, paid tuition and associated costs of

18 attending University of Phoenix, and graduated in 2014 with a Master’s in Business
19 Administration degree. Plaintiff attended classes at the Oakland, California University of Phoenix

20 campus and online. Plaintiff relied on Defendants’ advertisements making the Corporate

21 Relationships Representations, touting relationships and job or career opportunities with certain

22 companies, when choosing to enroll in University of Phoenix. Plaintiff initially encountered

23 Defendants’ advertisements in approximately 2012, in radio ads and solicitation emails. The

24 Corporate Relationships Representations were reiterated by a University of Phoenix enrollment

25

26
     PHX-ESW, Dist. Arizona, Docs. 1 and 15.
27   2
      https://www.ftc.gov/news-events/press-releases/2019/12/ftc-obtains-record-191-million-
     settlement-university-phoenix
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 1 advisor and admissions counselor. Based on confirmation by the University of Phoenix

 2 representatives of the Corporate Relationships Representations, Plaintiff chose to enroll at

 3 University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

 4 Representations while a student at University of Phoenix. Plaintiff also relied on these

 5 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

 6 not find employment with any of the companies that Defendants purported to have relationships

 7 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

 8 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

 9 touting relationships with and job or career opportunities specifically for University of Phoenix

10 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

11 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

12 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

13 period.

14           7.       Plaintiff Sophia Edwards was at all relevant times a resident of Napa, California.
15 Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of attending

16 University of Phoenix, and graduated in 2018 with a Bachelor of Science degree in Criminal

17 Justice Administration/Human Services for Criminal Justice. Plaintiff attended online classes in

18 Napa California. Plaintiff relied on Defendants’ advertisements making the Corporate
19 Relationships Representations, touting relationships and job or career opportunities with certain

20 companies, when choosing to enroll in University of Phoenix. Plaintiff initially encountered

21 Defendants’ advertisements in approximately 2014, in television ads, radio ads, and on the internet.

22 The Corporate Relationships Representations were reiterated by a University of Phoenix

23 enrollment advisor. Based on confirmation by the University of Phoenix representative of the

24 Corporate Relationships Representations, Plaintiff chose to enroll at University of Phoenix.

25 Plaintiff continued to encounter the Corporate Relationships Representations while a student at

26 University of Phoenix. Plaintiff also relied on these Representations in choosing to remain a
27 student at University of Phoenix. Plaintiff sought and did not find employment with any of the

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 1 companies that Defendants purported to have relationships providing job or career opportunities

 2 specifically to University of Phoenix graduates. Plaintiff would not have enrolled in University of

 3 Phoenix if Plaintiff had known that the advertisements touting relationships with and job or career

 4 opportunities specifically for University of Phoenix graduates at certain companies were false and

 5 misleading.

 6          8.       Plaintiff Peter Enzinger was at all relevant times a resident of Pinole, California.
 7 Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of attending

 8 University of Phoenix, and graduated in 2016 with a Bachelor of Science in Communication

 9 degree. Plaintiff attended classes online. Plaintiff relied on Defendants’ advertisements making the

10 Corporate Relationships Representations, touting relationships and job or career opportunities with

11 certain companies, when choosing to enroll in University of Phoenix. Plaintiff initially

12 encountered Defendants’ advertisements in approximately 2013, in television ads, radio ads and

13 on the University of Phoenix website. The Corporate Relationships Representations were

14 reiterated by a University of Phoenix recruiter and senior enrollment advisor. Based on

15 confirmation by the University of Phoenix representatives of the Corporate Relationships

16 Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff continued to encounter

17 the Corporate Relationships Representations while a student at University of Phoenix. Plaintiff

18 also relied on these Representations in choosing to remain a student at University of Phoenix.
19 Plaintiff sought and did not find employment with any of the companies that Defendants purported

20 to have relationships providing job or career opportunities specifically to University of Phoenix

21 graduates. Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that

22 the advertisements touting relationships with and job or career opportunities specifically for

23 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

24 discover, and did not know of facts that would have caused a reasonable person to suspect, that

25 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

26 applicable limitations period.
27

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 1          9.       Plaintiff Noah Lathrop was at all relevant times a resident of Pinole, California.
 2 Plaintiff enrolled in University of Phoenix in 2016, paid tuition and associated costs of attending

 3 University of Phoenix, and graduated in 2019 with a Bachelor of Science degree in Accounting.

 4 Plaintiff attended classes online. Plaintiff relied on Defendants’ advertisements making the

 5 Corporate Relationships Representations, touting relationships and job or career opportunities with

 6 certain companies, when choosing to enroll in University of Phoenix. Plaintiff initially

 7 encountered Defendants’ advertisements in approximately 2015, in television ads, radio ads, on

 8 Facebook, in emails, and on Billboards. The Corporate Relationships Representations were

 9 reiterated by a University of Phoenix enrollment counselor, and recruiter. Based on confirmation

10 by the University of Phoenix representatives of the Corporate Relationships Representations,

11 Plaintiff chose to enroll at University of Phoenix. Plaintiff continued to encounter the Corporate

12 Relationships Representations while a student at University of Phoenix. Plaintiff also relied on

13 these Representations in choosing to remain a student at University of Phoenix. Plaintiff sought

14 and did not find employment with any of the companies that Defendants purported to have

15 relationships providing job or career opportunities specifically to University of Phoenix graduates.

16 Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that the

17 advertisements touting relationships with and job or career opportunities specifically for

18 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not
19 discover, and did not know of facts that would have caused a reasonable person to suspect, that

20 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

21 applicable limitations period.

22           10.     Plaintiff Errol Cooper was at all relevant times a resident of San Diego, California.
23 Plaintiff enrolled in University of Phoenix in 2015, paid tuition and associated costs of attending

24 University of Phoenix, and graduated in 2019 with a Bachelor of Science degree in Psychology.

25 Plaintiff attended classes at the Granite Ridge Drive Campus in San Diego, California, and online.

26 Plaintiff relied on Defendants’ advertisements making the Corporate Relationships
27 Representations, touting relationships and job or career opportunities with certain companies,

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 1 when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’

 2 advertisements in approximately 2014, in television ads, emails, and on Facebook. The Corporate

 3 Relationships Representations were reiterated by a University of Phoenix recruiter and career

 4 counselor. Based on confirmation by the University of Phoenix representatives of the Corporate

 5 Relationships Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff

 6 continued to encounter the Corporate Relationships Representations while a student at University

 7 of Phoenix. Plaintiff also relied on these Representations in choosing to remain a student at

 8 University of Phoenix. Plaintiff sought and did not find employment with any of the companies

 9 that Defendants purported to have relationships providing job or career opportunities specifically

10 to University of Phoenix graduates. Plaintiff would not have enrolled in University of Phoenix if

11 Plaintiff had known that the advertisements touting relationships with and job or career

12 opportunities specifically for University of Phoenix graduates at certain companies were false and

13 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

14 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

15 wrongful conduct until within the applicable limitations period.

16          11.    Plaintiff Kelly Cummins was at all relevant times a resident of Vista, California.
17 Plaintiff enrolled in University of Phoenix in 2015, paid tuition and associated costs of attending

18 University of Phoenix, and graduated in 2017 with a Bachelor of Science degree in Business.
19 Plaintiff attended classes at the San Marcos, California campus and online. Plaintiff relied on

20 Defendants’ advertisements making the Corporate Relationships Representations, touting

21 relationships and job or career opportunities with certain companies, when choosing to enroll in

22 University of Phoenix. Plaintiff initially encountered Defendants’ advertisements in approximately

23 2015, in television commercials, YouTube videos, on Facebook, and LinkedIn. The Corporate

24 Relationships Representations were reiterated by a University of Phoenix senior academic

25 counselor and enrollment counselor. Based on confirmation by the University of Phoenix

26 representatives of the Corporate Relationships Representations, Plaintiff chose to enroll at
27 University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

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 1 Representations while a student at University of Phoenix. Plaintiff also relied on these

 2 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

 3 not find employment with any of the companies that Defendants purported to have relationships

 4 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

 5 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

 6 touting relationships with and job or career opportunities specifically for University of Phoenix

 7 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

 8 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

 9 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

10 period.

11           12.    Plaintiff Hugo Escobar was at all relevant times a resident of Spring Valley,
12 California. Plaintiff enrolled in University of Phoenix in 2015, paid tuition and associated costs of

13 attending University of Phoenix, and graduated in 2018 with a Bachelor of Science degree in

14 Criminal Justice Administration. Plaintiff attended classes at the San Diego campus. Plaintiff

15 relied on Defendants’ advertisements making the Corporate Relationships Representations, touting

16 relationships and job or career opportunities with certain companies, when choosing to enroll in

17 University of Phoenix. Plaintiff initially encountered Defendants’ advertisements in approximately

18 2014, in television ads and on YouTube. The Corporate Relationships Representations were
19 reiterated by a University of Phoenix enrollment advisor. Based on confirmation by the University

20 of Phoenix representative of the Corporate Relationships Representations, Plaintiff chose to enroll

21 at University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

22 Representations while a student at University of Phoenix. Plaintiff also relied on these

23 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

24 not find employment with any of the companies that Defendants purported to have relationships

25 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

26 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements
27 touting relationships with and job or career opportunities specifically for University of Phoenix

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 1 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

 2 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

 3 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

 4 period.

 5           13.   Plaintiff Daniel Gonzales was at all relevant times a resident of San Diego,
 6 California. Plaintiff enrolled in University of Phoenix in 2012, paid tuition and associated costs of

 7 attending University of Phoenix, and graduated in 2018 with a Bachelor of Science degree in

 8 Information Technology. Plaintiff attended classes on campus in San Diego, California campus.

 9 Plaintiff relied on Defendants’ advertisements making the Corporate Relationships

10 Representations, touting relationships and job or career opportunities with certain companies,

11 when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’

12 advertisements in approximately 2012, in television commercials. The Corporate Relationships

13 Representations were reiterated by a University of Phoenix enrollment counselor and an

14 enrollment advisor. Based on confirmation by the University of Phoenix representatives of the

15 Corporate Relationships Representations, Plaintiff chose to enroll at University of Phoenix.

16 Plaintiff continued to encounter the Corporate Relationships Representations while a student at

17 University of Phoenix. Plaintiff also relied on these Representations in choosing to remain a

18 student at University of Phoenix. Plaintiff sought and did not find employment with any of the
19 companies that Defendants purported to have relationships providing job or career opportunities

20 specifically to University of Phoenix graduates. Plaintiff would not have enrolled in University of

21 Phoenix if Plaintiff had known that the advertisements touting relationships with and job or career

22 opportunities specifically for University of Phoenix graduates at certain companies were false and

23 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

24 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

25 wrongful conduct until within the applicable limitations period.

26           14.   Plaintiff Cheryl Basi was at all relevant times a resident of Modesto, California.
27 Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of attending

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 1 University of Phoenix, and graduated in 2019 with a Bachelor of Science degree in Human

 2 Services, Concentration in Family and Child Services. Plaintiff attended classes at the Salida,

 3 California campus, the San Diego, California campus, and online. Plaintiff relied on Defendants’

 4 advertisements making the Corporate Relationships Representations, touting relationships and job

 5 or career opportunities with certain companies, when choosing to enroll in University of Phoenix.

 6 Plaintiff initially encountered Defendants’ advertisements in approximately 2013, in television

 7 ads, radio ads, and in University of Phoenix brochures. The Corporate Relationships

 8 Representations were reiterated by a University of Phoenix recruiter and an enrollment advisor.

 9 Based on confirmation by the University of Phoenix representatives of the Corporate Relationships

10 Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff continued to encounter

11 the Corporate Relationships Representations while a student at University of Phoenix. Plaintiff

12 also relied on these Representations in choosing to remain a student at University of Phoenix.

13 Plaintiff sought and did not find employment with any of the companies that Defendants purported

14 to have relationships providing job or career opportunities specifically to University of Phoenix

15 graduates. Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that

16 the advertisements touting relationships with and job or career opportunities specifically for

17 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

18 discover, and did not know of facts that would have caused a reasonable person to suspect, that
19 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

20 applicable limitations period.

21          15.     Plaintiff Charnelle Riley was at all relevant times a resident of Fairfield, California.
22 Plaintiff enrolled in University of Phoenix in 2013, paid tuition and associated costs of attending

23 University of Phoenix, and graduated in 2016 with a Bachelor of Science degree in Business.

24 Plaintiff attended classes online. Plaintiff relied on Defendants’ advertisements making the

25 Corporate Relationships Representations, touting relationships and job or career opportunities with

26 certain companies, when choosing to enroll in University of Phoenix. Plaintiff initially
27 encountered Defendants’ advertisements in approximately 2013 in television ads. The Corporate

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 1 Relationships Representations were reiterated by a University of Phoenix enrollment advisor, and

 2 financial advisor. Based on confirmation by the University of Phoenix representatives of the

 3 Corporate Relationships Representations, Plaintiff chose to enroll at University of Phoenix.

 4 Plaintiff continued to encounter the Corporate Relationships Representations while a student at

 5 University of Phoenix. Plaintiff also relied on these Representations in choosing to remain a

 6 student at University of Phoenix. Plaintiff sought and did not find employment with any of the

 7 companies that Defendants purported to have relationships providing job or career opportunities

 8 specifically to University of Phoenix graduates. Plaintiff would not have enrolled in University of

 9 Phoenix if Plaintiff had known that the advertisements touting relationships with and job or career

10 opportunities specifically for University of Phoenix graduates at certain companies were false and

11 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

12 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

13 wrongful conduct until within the applicable limitations period.

14          16.     Plaintiff Emanuel Gonzalez was at all relevant times a resident of Stockton,
15 California. Plaintiff enrolled in University of Phoenix in 2013, paid tuition and associated costs of

16 attending University of Phoenix, and graduated in 2016 with a Bachelor of Science degree in

17 Health Administration. Plaintiff attended classes at the Lathrop and Salinas, California campuses,

18 and online. Plaintiff relied on Defendants’ advertisements making the Corporate Relationships
19 Representations, touting relationships and job or career opportunities with certain companies,

20 when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’

21 advertisements in approximately 2012, in television and radio ads. The Corporate Relationships

22 Representations were reiterated by a University of Phoenix admissions counselor, financial

23 advisor, and academic counselor. Based on confirmation by the University of Phoenix

24 representatives of the Corporate Relationships Representations, Plaintiff chose to enroll at

25 University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

26 Representations while a student at University of Phoenix. Plaintiff also relied on these
27 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

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 1 not find employment with any of the companies that Defendants purported to have relationships

 2 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

 3 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

 4 touting relationships with and job or career opportunities specifically for University of Phoenix

 5 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

 6 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

 7 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

 8 period.

 9           17.    Plaintiff Richard Gonzalez was at all relevant times a resident of Stockton,
10 California. Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of

11 attending University of Phoenix, and graduated in 2017 with a Bachelor of Science degree in

12 Business. Plaintiff attended classes at the Livermore, California campus. Plaintiff relied on

13 Defendants’ advertisements making the Corporate Relationships Representations, touting

14 relationships and job or career opportunities with certain companies, when choosing to enroll in

15 University of Phoenix. Plaintiff initially encountered Defendants’ advertisements in approximately

16 2012, in television ads, on the University of Phoenix website, YouTube, in brochures, solicitation

17 emails, and on Facebook. The Corporate Relationships Representations were reiterated by a

18 University of Phoenix enrollment advisor, counselor, and professor. Based on confirmation by the
19 University of Phoenix representatives of the Corporate Relationships Representations, Plaintiff

20 chose to enroll at University of Phoenix. Plaintiff continued to encounter the Corporate

21 Relationships Representations while a student at University of Phoenix. Plaintiff also relied on

22 these Representations in choosing to remain a student at University of Phoenix. Plaintiff sought

23 and did not find employment with any of the companies that Defendants purported to have

24 relationships providing job or career opportunities specifically to University of Phoenix graduates.

25 Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that the

26 advertisements touting relationships with and job or career opportunities specifically for
27 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

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 1 discover, and did not know of facts that would have caused a reasonable person to suspect, that

 2 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

 3 applicable limitations period.

 4          18.    Plaintiff Rosalva Mendez was at all relevant times a resident of Bakersfield,
 5 California. Plaintiff enrolled in University of Phoenix in 2012, paid tuition and associated costs of

 6 attending University of Phoenix, and graduated in 2017 with an Associate of Arts degree in

 7 Accounting Foundations, and in 2020 with a Bachelor of Science degree in Accounting. Plaintiff

 8 attended classes online. Plaintiff relied on Defendants’ advertisements making the Corporate

 9 Relationships Representations, touting relationships and job or career opportunities with certain

10 companies, when choosing to enroll in University of Phoenix. Plaintiff initially encountered

11 Defendants’ advertisements in approximately 2012, in television ads. The Corporate Relationships

12 Representations were reiterated by a University of Phoenix recruiter. Based on confirmation by

13 the University of Phoenix representative of the Corporate Relationships Representations, Plaintiff

14 chose to enroll at University of Phoenix. Plaintiff continued to encounter the Corporate

15 Relationships Representations while a student at University of Phoenix. Plaintiff also relied on

16 these Representations in choosing to remain a student at University of Phoenix. Plaintiff sought

17 and did not find employment with any of the companies that Defendants purported to have

18 relationships providing job or career opportunities specifically to University of Phoenix graduates.
19 Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that the

20 advertisements touting relationships with and job or career opportunities specifically for

21 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

22 discover, and did not know of facts that would have caused a reasonable person to suspect, that

23 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

24 applicable limitations period.

25          19.    Plaintiff Cathy Silva was at all relevant times a resident of Tulare, California.
26 Plaintiff enrolled in University of Phoenix in 2012, paid tuition and associated costs of attending
27 University of Phoenix, and graduated in 2016 with a Bachelor of Science degree in Business

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 1 Management. Plaintiff attended classes at Visalia Convention Center campus and online. Plaintiff

 2 relied on Defendants’ advertisements making the Corporate Relationships Representations, touting

 3 relationships and job or career opportunities with certain companies, when choosing to enroll in

 4 University of Phoenix. Plaintiff initially encountered Defendants’ advertisements in approximately

 5 2012, in television ads, radio ads, and on the University of Phoenix website. The Corporate

 6 Relationships Representations were reiterated by a University of Phoenix recruiter, counselor, and

 7 enrollment advisor. Based on confirmation by the University of Phoenix representatives of the

 8 Corporate Relationships Representations, Plaintiff chose to enroll at University of Phoenix.

 9 Plaintiff continued to encounter the Corporate Relationships Representations while a student at

10 University of Phoenix. Plaintiff also relied on these Representations in choosing to remain a

11 student at University of Phoenix. Plaintiff sought and did not find employment with any of the

12 companies that Defendants purported to have relationships providing job or career opportunities

13 specifically to University of Phoenix graduates. Plaintiff would not have enrolled in University of

14 Phoenix if Plaintiff had known that the advertisements touting relationships with and job or career

15 opportunities specifically for University of Phoenix graduates at certain companies were false and

16 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

17 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

18 wrongful conduct until within the applicable limitations period.
19          20.    Plaintiff Rebecca Vance was at all relevant times a resident of Inyokern, California.
20   Plaintiff enrolled in University of Phoenix in 2013, paid tuition and associated costs of attending

21   University of Phoenix, and graduated in 2015 with a Bachelor of Science degree in Environmental

22   Science. Plaintiff attended classes online. Plaintiff relied on Defendants’ advertisements making

23   the Corporate Relationships Representations, touting relationships and job or career opportunities

24   with certain companies, when choosing to enroll in University of Phoenix. Plaintiff initially

25   encountered Defendants’ advertisements in approximately 2013, in television ads and on

26   Facebook. The Corporate Relationships Representations were reiterated by a University of
27   Phoenix admissions counselor. Based on confirmation by the University of Phoenix

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 1   representative of the Corporate Relationships Representations, Plaintiff chose to enroll at

 2   University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

 3   Representations while a student at University of Phoenix. Plaintiff also relied on these

 4   Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

 5   not find employment with any of the companies that Defendants purported to have relationships

 6   providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

 7   would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

 8   touting relationships with and job or career opportunities specifically for University of Phoenix

 9   graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

10   know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

11   harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

12   period.

13          21.    Plaintiff Loni Baisch was at all relevant times a resident of Marysville, California.
14 Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of attending

15 University of Phoenix, and graduated in 2016 with an Associate of Arts degree, Concentration in

16 Human Services Management. Plaintiff attended classes online. Plaintiff relied on Defendants’

17 advertisements making the Corporate Relationships Representations, touting relationships and job

18 or career opportunities with certain companies, when choosing to enroll in University of Phoenix.
19 Plaintiff initially encountered Defendants’ advertisements in approximately 2014, in television

20 ads, on Facebook, in radio ads, and on the internet. The Corporate Relationships Representations

21 were reiterated by a University of Phoenix enrollment advisor. Based on confirmation by the

22 University of Phoenix representative of the Corporate Relationships Representations, Plaintiff

23 chose to enroll at University of Phoenix. Plaintiff continued to encounter the Corporate

24 Relationships Representations while a student at University of Phoenix. Plaintiff also relied on

25 these Representations in choosing to remain a student at University of Phoenix. Plaintiff sought

26 and did not find employment with any of the companies that Defendants purported to have
27 relationships providing job or career opportunities specifically to University of Phoenix graduates.

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 1 Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that the

 2 advertisements touting relationships with and job or career opportunities specifically for

 3 University of Phoenix graduates at certain companies were false and misleading.

 4           22.    Plaintiff Jessica Behain was at all relevant times a resident of Long Beach,
 5 California. Plaintiff enrolled in University of Phoenix in 2015, paid tuition and associated costs of

 6 attending University of Phoenix, and graduated in 2017 with a Bachelor of Science degree in

 7 Healthcare Administration. Plaintiff attended classes online. Plaintiff relied on Defendants’

 8 advertisements making the Corporate Relationships Representations, touting relationships and job

 9 or career opportunities with certain companies, when choosing to enroll in University of Phoenix.

10 Plaintiff initially encountered Defendants’ advertisements in approximately 2014, in television

11 ads, on the internet, and in brochures. The Corporate Relationships Representations were reiterated

12 by a University of Phoenix enrollment counselor. Based on confirmation by the University of

13 Phoenix representative of the Corporate Relationships Representations, Plaintiff chose to enroll at

14 University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

15 Representations while a student at University of Phoenix. Plaintiff also relied on these

16 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

17 not find employment with any of the companies that Defendants purported to have relationships

18 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff
19 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

20 touting relationships with and job or career opportunities specifically for University of Phoenix

21 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

22 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

23 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

24 period.

25           23.    Plaintiff Kenneth Berry was at all relevant times a resident of Los Angeles,
26 California. Plaintiff enrolled in University of Phoenix in 2013, paid tuition and associated costs of
27 attending University of Phoenix, and graduated in 2015 with a Bachelor of Science degree in

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 1 Criminal Justice Administration, Concentration in Management. Plaintiff attended classes online.

 2 Plaintiff relied on Defendants’ advertisements making the Corporate Relationships

 3 Representations, touting relationships and job or career opportunities with certain companies,

 4 when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’

 5 advertisements in approximately 2012, in Facebook, the University of Phoenix website, and

 6 television ads. The Corporate Relationships Representations were reiterated by a University of

 7 Phoenix admissions representative. Based on confirmation by the University of Phoenix

 8 representative of the Corporate Relationships Representations, Plaintiff chose to enroll at

 9 University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

10 Representations while a student at University of Phoenix. Plaintiff also relied on these

11 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

12 not find employment with any of the companies that Defendants purported to have relationships

13 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

14 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

15 touting relationships with and job or career opportunities specifically for University of Phoenix

16 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

17 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

18 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations
19 period.

20           24.   Plaintiff Erin Carter was at all relevant times a resident of Lancaster, California.
21 Plaintiff enrolled in University of Phoenix in 2012, paid tuition and associated costs of attending

22 University of Phoenix, and graduated in 2014 with an Associate of Arts degree, Concentration in

23 Psychology, and in 2017 with a Bachelor of Science degree in Human Services. Plaintiff attended

24 classes online. Plaintiff relied on Defendants’ advertisements making the Corporate Relationships

25 Representations, touting relationships and job or career opportunities with certain companies,

26 when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’
27 advertisements in approximately 2012, in television commercials and radio ads. The Corporate

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 1 Relationships Representations were reiterated by a University of Phoenix recruiter and enrollment

 2 counselor. Based on confirmation by the University of Phoenix representatives of the Corporate

 3 Relationships Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff

 4 continued to encounter the Corporate Relationships Representations while a student at University

 5 of Phoenix. Plaintiff also relied on these Representations in choosing to remain a student at

 6 University of Phoenix. Plaintiff sought and did not find employment with any of the companies

 7 that Defendants purported to have relationships providing job or career opportunities specifically

 8 to University of Phoenix graduates. Plaintiff would not have enrolled in University of Phoenix if

 9 Plaintiff had known that the advertisements touting relationships with and job or career

10 opportunities specifically for University of Phoenix graduates at certain companies were false and

11 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

12 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

13 wrongful conduct until within the applicable limitations period.

14          25.     Plaintiff Margaret Coles was at all relevant times a resident of San Bernardino,
15 California. Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of

16 attending University of Phoenix, and graduated in 2018 with a Bachelor of Science in Health

17 Administration degree. Plaintiff attended classes at Moreno Valley, California Campus. Plaintiff

18 relied on Defendants’ advertisements making the Corporate Relationships Representations, touting
19 relationships and job or career opportunities with certain companies, when choosing to enroll in

20 University of Phoenix. Plaintiff initially encountered Defendants’ advertisements in approximately

21 2014, in radio ads and on the University of Phoenix website. The Corporate Relationships

22 Representations were reiterated by a University of Phoenix academic counselor. Based on

23 confirmation by the University of Phoenix representative of the Corporate Relationships

24 Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff continued to encounter

25 the Corporate Relationships Representations while a student at University of Phoenix. Plaintiff

26 also relied on these Representations in choosing to remain a student at University of Phoenix.
27 Plaintiff sought and did not find employment with any of the companies that Defendants purported

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 1 to have relationships providing job or career opportunities specifically to University of Phoenix

 2 graduates. Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that

 3 the advertisements touting relationships with and job or career opportunities specifically for

 4 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

 5 discover, and did not know of facts that would have caused a reasonable person to suspect, that

 6 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

 7 applicable limitations period.

 8          26.     Plaintiff Tracy Erickson was at all relevant times a resident of San Andreas,
 9 California. Plaintiff enrolled in University of Phoenix in 2012, paid tuition and associated costs of

10 attending University of Phoenix, and graduated in 2016 with a Bachelor of Science degree in

11 Nursing. Plaintiff attended classes at the Salida and Modesto California Campuses. Plaintiff relied

12 on Defendants’ advertisements making the Corporate Relationships Representations, touting

13 relationships and job or career opportunities with certain companies, when choosing to enroll in

14 University of Phoenix. Plaintiff initially encountered Defendants’ advertisements in approximately

15 2012, in radio ads, television commercials, and on the University of Phoenix website. The

16 Corporate Relationships Representations were reiterated by University of Phoenix representatives.

17 Based on confirmation by the University of Phoenix representatives of the Corporate Relationships

18 Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff continued to encounter
19 the Corporate Relationships Representations while a student at University of Phoenix. Plaintiff

20 also relied on these Representations in choosing to remain a student at University of Phoenix.

21 Plaintiff sought and did not find employment with any of the companies that Defendants purported

22 to have relationships providing job or career opportunities specifically to University of Phoenix

23 graduates. Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that

24 the advertisements touting relationships with and job or career opportunities specifically for

25 University of Phoenix graduates at certain companies were false and misleading.

26          27.     Plaintiff Lloyd Harris was at all relevant times a resident of Hawthorne, California.
27 Plaintiff enrolled in University of Phoenix in 2015, paid tuition and associated costs of attending

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 1 University of Phoenix, and graduated in 2017 with an Associate of Arts degree, Concentration in

 2 Information Technology. Plaintiff attended classes online. Plaintiff relied on Defendants’

 3 advertisements making the Corporate Relationships Representations, touting relationships and job

 4 or career opportunities with certain companies, when choosing to enroll in University of Phoenix.

 5 Plaintiff initially encountered Defendants’ advertisements in approximately 2015, in television and

 6 radio ads, and on the internet. The Corporate Relationships Representations were reiterated by a

 7 University of Phoenix enrollment advisor. Based on confirmation by the University of Phoenix

 8 representative of the Corporate Relationships Representations, Plaintiff chose to enroll at

 9 University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

10 Representations while a student at University of Phoenix. Plaintiff also relied on these

11 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

12 not find employment with any of the companies that Defendants purported to have relationships

13 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

14 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

15 touting relationships with and job or career opportunities specifically for University of Phoenix

16 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

17 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

18 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations
19 period.

20           28.   Plaintiff Nona Harris was at all relevant times a resident of Hawthorne, California.
21 Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of attending

22 University of Phoenix, and graduated in 2016 with an Associate of Arts Concentration in Business

23 Foundations degree, and 2018 with a Bachelor of Science degree in Accounting. Plaintiff attended

24 classes online. Plaintiff relied on Defendants’ advertisements making the Corporate Relationships

25 Representations, touting relationships and job or career opportunities with certain companies,

26 when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’
27 advertisements in approximately 2013, in radio ads, in emails, in social media advertisements, and

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 1 television commercials. The Corporate Relationships Representations were reiterated by a

 2 University of Phoenix admissions representative. Based on confirmation by the University of

 3 Phoenix representative of the Corporate Relationships Representations, Plaintiff chose to enroll at

 4 University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

 5 Representations while a student at University of Phoenix. Plaintiff also relied on these

 6 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

 7 not find employment with any of the companies that Defendants purported to have relationships

 8 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

 9 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

10 touting relationships with and job or career opportunities specifically for University of Phoenix

11 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

12 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

13 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

14 period.

15           29.    Plaintiff Stephanie Jacobo was at all relevant times a resident of Gardena,
16 California. Plaintiff enrolled in University of Phoenix in 2012, paid tuition and associated costs of

17 attending University of Phoenix, and graduated in 2019 with a Bachelor of Science degree in

18 Criminal Justice Administration. Plaintiff attended classes online. Plaintiff relied on Defendants’
19 advertisements making the Corporate Relationships Representations, touting relationships and job

20 or career opportunities with certain companies, when choosing to enroll in University of Phoenix.

21 Plaintiff initially encountered Defendants’ advertisements in approximately 2012, in television

22 ads, on social media, and YouTube Video ads. The Corporate Relationships Representations were

23 reiterated by a University of Phoenix Program Enrollment Specialist. Based on confirmation by

24 the University of Phoenix representative of the Corporate Relationships Representations, Plaintiff

25 chose to enroll at University of Phoenix. Plaintiff continued to encounter the Corporate

26 Relationships Representations while a student at University of Phoenix. Plaintiff also relied on
27 these Representations in choosing to remain a student at University of Phoenix. Plaintiff sought

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 1 and did not find employment with any of the companies that Defendants purported to have

 2 relationships providing job or career opportunities specifically to University of Phoenix graduates.

 3 Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that the

 4 advertisements touting relationships with and job or career opportunities specifically for

 5 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

 6 discover, and did not know of facts that would have caused a reasonable person to suspect, that

 7 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

 8 applicable limitations period.

 9          30.    Plaintiff Ericka Martin was at all relevant times a resident of Corona, California.
10 Plaintiff enrolled in University of Phoenix in 2013, paid tuition and associated costs of attending

11 University of Phoenix, and graduated in 2018 with an Associate of Arts degree and 2020 with a

12 Bachelor of Science degree in Business. Plaintiff attended classes online. Plaintiff relied on

13 Defendants’ advertisements making the Corporate Relationships Representations, touting

14 relationships and job or career opportunities with certain companies, when choosing to enroll in

15 University of Phoenix. Plaintiff initially encountered Defendants’ advertisements in approximately

16 2012, in television ads and on Facebook. The Corporate Relationships Representations were

17 reiterated by a University of Phoenix enrollment advisor and a counselor. Based on confirmation

18 by the University of Phoenix representatives of the Corporate Relationships Representations,
19 Plaintiff chose to enroll at University of Phoenix. Plaintiff continued to encounter the Corporate

20 Relationships Representations while a student at University of Phoenix. Plaintiff also relied on

21 these Representations in choosing to remain a student at University of Phoenix. Plaintiff sought

22 and did not find employment with any of the companies that Defendants purported to have

23 relationships providing job or career opportunities specifically to University of Phoenix graduates.

24 Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that the

25 advertisements touting relationships with and job or career opportunities specifically for

26 University of Phoenix graduates at certain companies were false and misleading.
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 1           31.    Plaintiff Damien Montoya was at all relevant times a resident of Hidden Hills,
 2 California. Plaintiff enrolled in University of Phoenix in 2012, paid tuition and associated costs of

 3 attending University of Phoenix, and graduated in 2016 with a Bachelor of Science degree in

 4 Environmental Science. Plaintiff attended classes online. Plaintiff relied on Defendants’

 5 advertisements making the Corporate Relationships Representations, touting relationships and job

 6 or career opportunities with certain companies, when choosing to enroll in University of Phoenix.

 7 Plaintiff initially encountered Defendants’ advertisements in approximately 2012, in The

 8 University of Phoenix website. The Corporate Relationships Representations were reiterated by

 9 University of Phoenix counselors. Based on confirmation by the University of Phoenix

10 representatives of the Corporate Relationships Representations, Plaintiff chose to enroll at

11 University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

12 Representations while a student at University of Phoenix. Plaintiff also relied on these

13 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

14 not find employment with any of the companies that Defendants purported to have relationships

15 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

16 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

17 touting relationships with and job or career opportunities specifically for University of Phoenix

18 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not
19 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

20 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

21 period.

22           32.    Plaintiff Nathaniel Porter was at all relevant times a resident of Temecula,
23 California. Plaintiff enrolled in University of Phoenix in 2013, paid tuition and associated costs of

24 attending University of Phoenix, and graduated in 2018 with a Bachelor of Science degree in

25 Business. Plaintiff attended classes at the Murrieta, California campus and online. Plaintiff relied

26 on Defendants’ advertisements making the Corporate Relationships Representations, touting
27 relationships and job or career opportunities with certain companies, when choosing to enroll in

28
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 1 University of Phoenix. Plaintiff initially encountered Defendants’ advertisements in approximately

 2 2013, in radio ads, in the internet, and on the University of Phoenix website. The Corporate

 3 Relationships Representations were reiterated by a University of Phoenix recruiter and enrollment

 4 advisor. Based on confirmation by the University of Phoenix representatives of the Corporate

 5 Relationships Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff

 6 continued to encounter the Corporate Relationships Representations while a student at University

 7 of Phoenix. Plaintiff also relied on these Representations in choosing to remain a student at

 8 University of Phoenix. Plaintiff sought and did not find employment with any of the companies

 9 that Defendants purported to have relationships providing job or career opportunities specifically

10 to University of Phoenix graduates. Plaintiff would not have enrolled in University of Phoenix if

11 Plaintiff had known that the advertisements touting relationships with and job or career

12 opportunities specifically for University of Phoenix graduates at certain companies were false and

13 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

14 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

15 wrongful conduct until within the applicable limitations period.

16          33.    Plaintiff Rochelle Stephens was at all relevant times a resident of Apple Valley,
17   California. Plaintiff enrolled in University of Phoenix in 2012, paid tuition and associated costs

18   of attending University of Phoenix, and graduated in 2016 with an Associate of Arts degree,
19   Concentration in Health Care Administration/Medical Records. Plaintiff attended classes online.

20   Plaintiff relied on Defendants’ advertisements making the Corporate Relationships

21   Representations, touting relationships and job or career opportunities with certain companies,

22   when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’

23   advertisements in approximately 2012, in television ads, Facebook, radio ads, and the University

24   of Phoenix website. The Corporate Relationships Representations were reiterated by a University

25   of Phoenix recruiter and counselor. Based on confirmation by the University of Phoenix

26   representatives of the Corporate Relationships Representations, Plaintiff chose to enroll at
27   University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

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 1   Representations while a student at University of Phoenix. Plaintiff also relied on these

 2   Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

 3   not find employment with any of the companies that Defendants purported to have relationships

 4   providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

 5   would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

 6   touting relationships with and job or career opportunities specifically for University of Phoenix

 7   graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

 8   know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

 9   harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

10   period.

11         34.     Plaintiff Maimoye Uku was at all relevant times a resident of Inyokern, California.
12   Plaintiff enrolled in University of Phoenix in 2012, paid tuition and associated costs of attending

13   University of Phoenix, and graduated in 2014 with a Bachelor of Science degree in Environmental

14   Science. Plaintiff attended classes online. Plaintiff relied on Defendants’ advertisements making

15   the Corporate Relationships Representations, touting relationships and job or career opportunities

16   with certain companies, when choosing to enroll in University of Phoenix. Plaintiff initially

17   encountered Defendants’ advertisements in 2011, in television ads, radio ads, on Facebook and

18   the University of Phoenix website. The Corporate Relationships Representations were reiterated
19   by a University of Phoenix academic counselor, financial advisor, and enrollment advisor. Based

20   on confirmation by the University of Phoenix representatives of the Corporate Relationships

21   Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff continued to

22   encounter the Corporate Relationships Representations while a student at University of Phoenix.

23   Plaintiff also relied on these Representations in choosing to remain a student at University of

24   Phoenix. Plaintiff sought and did not find employment with any of the companies that Defendants

25   purported to have relationships providing job or career opportunities specifically to University of

26   Phoenix graduates. Plaintiff would not have enrolled in University of Phoenix if Plaintiff had
27   known that the advertisements touting relationships with and job or career opportunities

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 1   specifically for University of Phoenix graduates at certain companies were false and misleading.

 2   Plaintiff did not discover, and did not know of facts that would have caused a reasonable person

 3   to suspect, that Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until

 4   within the applicable limitations period.

 5           35.   Plaintiff Chearise Bradford was at all relevant times a resident of Hayward,
 6 California. Plaintiff enrolled in University of Phoenix in 2013, paid tuition and associated costs of

 7 attending University of Phoenix, and graduated in 2015 with an Associate of Arts in Accounting

 8 Foundations degree, and 2017 with a Bachelor of Science degree in Business. Plaintiff attended

 9 classes online while in Hayward, California, as well as online and on campus in Las Vegas.

10 Plaintiff relied on Defendants’ advertisements making the Corporate Relationships

11 Representations, touting relationships and job or career opportunities with certain companies,

12 when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’

13 advertisements in approximately 2012, in television ads, radio ads, and on the University of

14 Phoenix website. The Corporate Relationships Representations were reiterated by a University of

15 Phoenix recruiter, an enrollment advisor, and a counselor. Based on confirmation by the University

16 of Phoenix representatives of the Corporate Relationships Representations, Plaintiff chose to enroll

17 at University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

18 Representations while a student at University of Phoenix. Plaintiff also relied on these
19 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

20 not find employment with any of the companies that Defendants purported to have relationships

21 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

22 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

23 touting relationships with and job or career opportunities specifically for University of Phoenix

24 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

25 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

26 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations
27 period.

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 1          36.    Plaintiff Nannette Myers was at all relevant times a resident of Santa Clarita,
 2 California. Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of

 3 attending University of Phoenix, and graduated in 2016 with an Associate of Arts degree in Human

 4 Services. Plaintiff attended classes online. Plaintiff relied on Defendants’ advertisements making

 5 the Corporate Relationships Representations, touting relationships and job or career opportunities

 6 with certain companies, when choosing to enroll in University of Phoenix. Plaintiff initially

 7 encounter Defendants’ advertisements in approximately 2014, in television commercials. The

 8 Corporate Relationships Representations were reiterated by a University of Phoenix enrollment

 9 advisor and counselor. Based on confirmation by the University of Phoenix representatives of the

10 Corporate Relationships Representations, Plaintiff chose to enroll at University of Phoenix.

11 Plaintiff continued to encounter the Corporate Relationships Representations while a student at

12 University of Phoenix. Plaintiff also relied on these Representations in choosing to remain a

13 student at University of Phoenix. Plaintiff sought and did not find employment with any of the

14 companies that Defendants purported to have relationships providing job or career opportunities

15 specifically to University of Phoenix graduates. Plaintiff would not have enrolled in University of

16 Phoenix if Plaintiff had known that the advertisements touting relationships with and job or career

17 opportunities specifically for University of Phoenix graduates at certain companies were false and

18 misleading. Plaintiff did not discover, and did not know of facts that would have caused a
19 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

20 wrongful conduct until within the applicable limitations period.

21          37.    Plaintiff Jesus Arriaga was at all relevant times a resident of Winchester, California.
22 Plaintiff enrolled in University of Phoenix in 2015, paid tuition and associated costs of attending

23 University of Phoenix, and graduated in 2018 with a Bachelor of Science in Business degree.

24 Plaintiff attended classes at the Murrieta, California Campus. Plaintiff relied on Defendants’

25 advertisements making the Corporate Relationships Representations, touting relationships and job

26 or career opportunities with certain companies, when choosing to enroll in University of Phoenix.
27 Plaintiff initially encountered Defendants’ advertisements in approximately 2014, in radio ads and

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 1 on the University of Phoenix website. The Corporate Relationships Representations were

 2 reiterated by a University of Phoenix recruiter, and a University of Phoenix Counselor. Based on

 3 confirmation by the University of Phoenix representatives of the Corporate Relationships

 4 Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff continued to encounter

 5 the Corporate Relationships Representations while a student at University of Phoenix. Plaintiff

 6 also relied on these Representations in choosing to remain a student at University of Phoenix.

 7 Plaintiff sought and did not find employment with any of the companies that Defendants purported

 8 to have relationships providing job or career opportunities specifically to University of Phoenix

 9 graduates. Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that

10 the advertisements touting relationships with and job or career opportunities specifically for

11 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

12 discover, and did not know of facts that would have caused a reasonable person to suspect, that

13 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

14 applicable limitations period.

15          38.     Plaintiff Paris Brown was at all relevant times a resident of Fresno, California.
16 Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of attending

17 University of Phoenix, and graduated in 2018 with a Bachelor of Science degree in Psychology,

18 and graduated in 2021 with a Master’s of Science in Counseling/Marriage, Family and Child
19 Therapy. Plaintiff attended classes at the University of Phoenix Fresno Campus. Plaintiff relied

20 on Defendants’ advertisements making the Corporate Relationships Representations, touting

21 relationships and job or career opportunities with certain companies, when choosing to enroll in

22 University of Phoenix. Plaintiff initially encountered Defendants’ advertisements in approximately

23 2014, in television ads, on the radio, and social media. The Corporate Relationships

24 Representations were reiterated by a University of Phoenix enrollment counselor. Based on

25 confirmation by the University of Phoenix representative of the Corporate Relationships

26 Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff continued to encounter
27 the Corporate Relationships Representations while a student at University of Phoenix. Plaintiff

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 1 also relied on these Representations in choosing to remain a student at University of Phoenix.

 2 Plaintiff sought and did not find employment with any of the companies that Defendants purported

 3 to have relationships providing job or career opportunities specifically to University of Phoenix

 4 graduates. Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that

 5 the advertisements touting relationships with and job or career opportunities specifically for

 6 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

 7 discover, and did not know of facts that would have caused a reasonable person to suspect, that

 8 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

 9 applicable limitations period.

10          39.    Plaintiff Marco Carlos was at all relevant times a resident of El Cajon, California.
11 Plaintiff enrolled in University of Phoenix in 2013, paid tuition and associated costs of attending

12 University of Phoenix, and graduated in 2015 with a Bachelor of Science degree in Business.

13 Plaintiff attended classes at the San Diego Campus and online. Plaintiff relied on Defendants’

14 advertisements making the Corporate Relationships Representations, touting relationships and job

15 or career opportunities with certain companies, when choosing to enroll in University of Phoenix.

16 Plaintiff initially encountered Defendants’ advertisements in approximately 2012, in television

17 ads, radio ads, and on the University of Phoenix website. The Corporate Relationships

18 Representations were reiterated by a University of Phoenix recruiter, an enrollment advisor, and a
19 counselor. Based on confirmation by the University of Phoenix representatives of the Corporate

20 Relationships Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff

21 continued to encounter the Corporate Relationships Representations while a student at University

22 of Phoenix. Plaintiff also relied on these Representations in choosing to remain a student at

23 University of Phoenix. Plaintiff sought and did not find employment with any of the companies

24 that Defendants purported to have relationships providing job or career opportunities specifically

25 to University of Phoenix graduates. Plaintiff would not have enrolled in University of Phoenix if

26 Plaintiff had known that the advertisements touting relationships with and job or career
27 opportunities specifically for University of Phoenix graduates at certain companies were false and

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 1 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

 2 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

 3 wrongful conduct until within the applicable limitations period.

 4          40.    Plaintiff Bianca Davis was at all relevant times a resident of San Diego, California.
 5 Plaintiff enrolled in University of Phoenix in 2013, paid tuition and associated costs of attending

 6 University of Phoenix, and graduated in 2017 with a Bachelor of Science degree in Accounting.

 7 Plaintiff attended classes at the San Diego, California Campus and online. Plaintiff relied on

 8 Defendants’ advertisements making the Corporate Relationships Representations, touting

 9 relationships and job or career opportunities with certain companies, when choosing to enroll in

10 University of Phoenix. Plaintiff initially encountered Defendants’ advertisements in approximately

11 2013, in radio ads, emails, and television ads. The Corporate Relationships Representations were

12 reiterated by a University of Phoenix counselor and finance advisor. Based on confirmation by the

13 University of Phoenix representatives of the Corporate Relationships Representation, Plaintiff

14 chose to enroll at University of Phoenix. Plaintiff continued to encounter the Corporate

15 Relationships Representations while a student at University of Phoenix. Plaintiff also relied on

16 these Representations in choosing to remain a student at University of Phoenix. Plaintiff sought

17 and did not find employment with any of the companies that Defendants purported to have

18 relationships providing job or career opportunities specifically to University of Phoenix graduates.
19 Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that the

20 advertisements touting relationships with and job or career opportunities specifically for

21 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

22 discover, and did not know of facts that would have caused a reasonable person to suspect, that

23 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

24 applicable limitations period.

25          41.    Plaintiff Tracy Davis was at all relevant times a resident of Bakersfield, California.
26 Plaintiff enrolled in University of Phoenix in 2015, paid tuition and associated costs of attending
27 University of Phoenix, and graduated in 2019 with a Bachelor of Science in Psychology degree.

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 1 Plaintiff attended classes online and at the Bakersfield, California Campus. Plaintiff relied on

 2 Defendants’ advertisements making the Corporate Relationships Representations, touting

 3 relationships and job or career opportunities with certain companies, when choosing to enroll in

 4 University of Phoenix. Plaintiff initially encountered Defendants’ advertisements in approximately

 5 2012, in television ads and at job fairs. The Corporate Relationships Representations were

 6 reiterated by a counselor. Based on confirmation by the University of Phoenix representative of

 7 the Corporate Relationships Representations, Plaintiff chose to enroll at University of Phoenix.

 8 Plaintiff continued to encounter the Corporate Relationships Representations while a student at

 9 University of Phoenix. Plaintiff also relied on these Representations in choosing to remain a

10 student at University of Phoenix. Plaintiff sought and did not find employment with any of the

11 companies that Defendants purported to have relationships providing job or career opportunities

12 specifically to University of Phoenix graduates. Plaintiff would not have enrolled in University of

13 Phoenix if Plaintiff had known that the advertisements touting relationships with and job or career

14 opportunities specifically for University of Phoenix graduates at certain companies were false and

15 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

16 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

17 wrongful conduct until within the applicable limitations period.

18          42.    Plaintiff Roneisha Evans was at all relevant times a resident of Gardena, California.
19 Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of attending

20 University of Phoenix, and graduated in 2016 with a Bachelor of Science degree in Health

21 Administration. Plaintiff attended classes online. Plaintiff relied on Defendants’ advertisements

22 making the Corporate Relationships Representations, touting relationships and job or career

23 opportunities with certain companies, when choosing to enroll in University of Phoenix. Plaintiff

24 initially encountered Defendants’ advertisements in approximately 2013, in television ads. The

25 Corporate Relationships Representations were reiterated by a University of Phoenix enrollment

26 advisor. Based on confirmation by the University of Phoenix representative of the Corporate
27 Relationships Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff

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 1 continued to encounter the Corporate Relationships Representations while a student at University

 2 of Phoenix. Plaintiff also relied on these Representations in choosing to remain a student at

 3 University of Phoenix. Plaintiff sought and did not find employment with any of the companies

 4 that Defendants purported to have relationships providing job or career opportunities specifically

 5 to University of Phoenix graduates. Plaintiff would not have enrolled in University of Phoenix if

 6 Plaintiff had known that the advertisements touting relationships with and job or career

 7 opportunities specifically for University of Phoenix graduates at certain companies were false and

 8 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

 9 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

10 wrongful conduct until within the applicable limitations period.

11          43.     Plaintiff Michelle Guevara was at all relevant times a resident of Fair Oak,
12 California. Plaintiff enrolled in University of Phoenix in 2016, paid tuition and associated costs of

13 attending University of Phoenix, and graduated in 2018 with an Associate of Arts degree,

14 Concentration in Business Fundamentals, and in 2021 with a Bachelor of Science degree in

15 Accounting. Plaintiff attended online classes. Plaintiff relied on Defendants’ advertisements

16 making the Corporate Relationships Representations, touting relationships and job or career

17 opportunities with certain companies, when choosing to enroll in University of Phoenix. Plaintiff

18 initially encountered Defendants’ advertisements in approximately 2015, in television ads, on
19 Facebook, Instagram, YouTube, and in radio ads. The Corporate Relationships Representations

20 were reiterated by a University of Phoenix recruiter, and an academic counselor. Based on

21 confirmation by the University of Phoenix representatives of the Corporate Relationships

22 Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff continued to encounter

23 the Corporate Relationships Representations while a student at University of Phoenix. Plaintiff

24 also relied on these Representations in choosing to remain a student at University of Phoenix.

25 Plaintiff sought and did not find employment with any of the companies that Defendants purported

26 to have relationships providing job or career opportunities specifically to University of Phoenix
27 graduates. Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that

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 1 the advertisements touting relationships with and job or career opportunities specifically for

 2 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

 3 discover, and did not know of facts that would have caused a reasonable person to suspect, that

 4 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

 5 applicable limitations period.

 6          44.     Plaintiff Monica Guida was at all relevant times a resident of Concord, California.
 7 Plaintiff enrolled in University of Phoenix in 2012, paid tuition and associated costs of attending

 8 University of Phoenix, and graduated in 2019 with a Bachelor of Science in Accounting degree.

 9 Plaintiff attended classes at the Livermore, California campus. Plaintiff relied on Defendants’

10 advertisements making the Corporate Relationships Representations, touting relationships and job

11 or career opportunities with certain companies, when choosing to enroll in University of Phoenix.

12 Plaintiff initially encountered Defendants’ advertisements in approximately 2012, in radio and

13 television ads. The Corporate Relationships Representations were reiterated by a University of

14 Phoenix enrollment advisor. Based on confirmation by the University of Phoenix representative

15 of the Corporate Relationships Representations, Plaintiff chose to enroll at University of Phoenix.

16 Plaintiff continued to encounter the Corporate Relationships Representations while a student at

17 University of Phoenix. Plaintiff also relied on these Representations in choosing to remain a

18 student at University of Phoenix. Plaintiff sought and did not find employment with any of the
19 companies that Defendants purported to have relationships providing job or career opportunities

20 specifically to University of Phoenix graduates. Plaintiff would not have enrolled in University of

21 Phoenix if Plaintiff had known that the advertisements touting relationships with and job or career

22 opportunities specifically for University of Phoenix graduates at certain companies were false and

23 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

24 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

25 wrongful conduct until within the applicable limitations period.

26          45.     Plaintiff Yanira Hernandez was at all relevant times a resident of Paramount,
27 California. Plaintiff enrolled in University of Phoenix in 2015, paid tuition and associated costs of

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 1 attending University of Phoenix, and graduated in 2018 with a Bachelor of Science degree in

 2 Health Administration. Plaintiff attended classes at the Gardena, California Campus and online.

 3 Plaintiff relied on Defendants’ advertisements making the Corporate Relationships

 4 Representations, touting relationships and job or career opportunities with certain companies,

 5 when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’

 6 advertisements in approximately 2014, in television ads, radio ads, on social media, and online

 7 ads. The Corporate Relationships Representations were reiterated by a University of Phoenix

 8 admissions representative. Based on confirmation by the University of Phoenix representative of

 9 the Corporate Relationships Representations, Plaintiff chose to enroll at University of Phoenix.

10 Plaintiff continued to encounter the Corporate Relationships Representations while a student at

11 University of Phoenix. Plaintiff also relied on these Representations in choosing to remain a

12 student at University of Phoenix. Plaintiff sought and did not find employment with any of the

13 companies that Defendants purported to have relationships providing job or career opportunities

14 specifically to University of Phoenix graduates. Plaintiff would not have enrolled in University of

15 Phoenix if Plaintiff had known that the advertisements touting relationships with and job or career

16 opportunities specifically for University of Phoenix graduates at certain companies were false and

17 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

18 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’
19 wrongful conduct until within the applicable limitations period.

20          46.     Plaintiff Marques Hunter was at all relevant times a resident of Sacramento,
21 California. Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of

22 attending University of Phoenix, and graduated in 2018 with a Bachelor of Science degree in

23 Information Technology. Plaintiff attended classes at the Great Oaks Campus in Sacramento,

24 California. Plaintiff relied on Defendants’ advertisements making the Corporate Relationships

25 Representations, touting relationships and job or career opportunities with certain companies,

26 when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’
27 advertisements in approximately 2013, in television ads. The Corporate Relationships

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 1 Representations were reiterated by a University of Phoenix senior enrollment advisor. Based on

 2 confirmation by the University of Phoenix representative of the Corporate Relationships

 3 Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff continued to encounter

 4 the Corporate Relationships Representations while a student at University of Phoenix. Plaintiff

 5 also relied on these Representations in choosing to remain a student at University of Phoenix.

 6 Plaintiff sought and did not find employment with any of the companies that Defendants purported

 7 to have relationships providing job or career opportunities specifically to University of Phoenix

 8 graduates. Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that

 9 the advertisements touting relationships with and job or career opportunities specifically for

10 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

11 discover, and did not know of facts that would have caused a reasonable person to suspect, that

12 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

13 applicable limitations period.

14          47.    Plaintiff Kathryn Labriola was at all relevant times a resident of San Diego,
15 California. Plaintiff enrolled in University of Phoenix 2013, paid tuition and associated costs of

16 attending University of Phoenix, and graduated in 2017 with a Bachelor of Science degree in

17 Business. Plaintiff attended classes online. Plaintiff relied on Defendants’ advertisements making

18 the Corporate Relationships Representations, touting relationships and job or career opportunities
19 with certain companies, when choosing to enroll in University of Phoenix. Plaintiff initially

20 encountered Defendants’ advertisements in approximately 2013, in television ads, online, and in

21 radio ads. The Corporate Relationships Representations were reiterated by a University of Phoenix

22 recruiter, enrollment advisor and counselor. Based on confirmation by the University of Phoenix

23 representatives of the Corporate Relationships Representations, Plaintiff chose to enroll at

24 University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

25 Representations while a student at University of Phoenix. Plaintiff also relied on these

26 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did
27 not find employment with any of the companies that Defendants purported to have relationships

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 1 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

 2 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

 3 touting relationships with and job or career opportunities specifically for University of Phoenix

 4 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

 5 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

 6 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

 7 period.

 8           48.   Plaintiff Alberto Lara was at all relevant times a resident of South Gate, California.
 9 Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of attending

10 University of Phoenix, and graduated in 2019 with an Associate of Arts Concentration in Business

11 Fundamentals degree. Plaintiff attended classes online. Plaintiff relied on Defendants’

12 advertisements making the Corporate Relationships Representations, touting relationships and job

13 or career opportunities with certain companies, when choosing to enroll in University of Phoenix.

14 Plaintiff initially encountered Defendants’ advertisements in approximately 2014, in radio ads and

15 on the University of Phoenix website. The Corporate Relationships Representations were

16 reiterated by a University of Phoenix enrollment counselor, and recruiter. Based on confirmation

17 by the University of Phoenix representatives of the Corporate Relationships Representations,

18 Plaintiff chose to enroll at University of Phoenix. Plaintiff continued to encounter the Corporate
19 Relationships Representations while a student at University of Phoenix. Plaintiff also relied on

20 these Representations in choosing to remain a student at University of Phoenix. Plaintiff sought

21 and did not find employment with any of the companies that Defendants purported to have

22 relationships providing job or career opportunities specifically to University of Phoenix graduates.

23 Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that the

24 advertisements touting relationships with and job or career opportunities specifically for

25 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

26 discover, and did not know of facts that would have caused a reasonable person to suspect, that
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 1 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

 2 applicable limitations period.

 3           49.   Plaintiff Robert Mason was at all relevant times a resident of Victorville, California.
 4 Plaintiff enrolled in University of Phoenix in 2013, paid tuition and associated costs of attending

 5 University of Phoenix, and graduated in 2015 with a Bachelor of Science degree in Environmental

 6 Science. Plaintiff attended classes online. Plaintiff relied on Defendants’ advertisements making

 7 the Corporate Relationships Representations, touting relationships and job or career opportunities

 8 with certain companies, when choosing to enroll in University of Phoenix. Plaintiff initially

 9 encountered Defendants’ advertisements in approximately 2012, in television ads and on

10 Facebook. The Corporate Relationships Representations were reiterated by a University of

11 Phoenix recruiter and counselor. Based on confirmation by the University of Phoenix

12 representatives of the Corporate Relationships Representations, Plaintiff chose to enroll at

13 University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

14 Representations while a student at University of Phoenix. Plaintiff also relied on these

15 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

16 not find employment with any of the companies that Defendants purported to have relationships

17 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

18 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements
19 touting relationships with and job or career opportunities specifically for University of Phoenix

20 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

21 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

22 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

23 period.

24           50.   Plaintiff Raquel Mendoza was at all relevant times a resident of Dinuba, California.
25 Plaintiff enrolled in University of Phoenix in 2015, paid tuition and associated costs of attending

26 University of Phoenix, and graduated in 2020 with a Bachelor of Science degree in Business.
27 Plaintiff attended classes online. Plaintiff relied on Defendants’ advertisements making the

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 1 Corporate Relationships Representations, touting relationships and job or career opportunities with

 2 certain companies, when choosing to enroll in University of Phoenix. Plaintiff initially

 3 encountered Defendants’ advertisements in approximately 2014, in television ads and on the

 4 University of Phoenix website. The Corporate Relationships Representations were reiterated by a

 5 University of Phoenix enrollment advisor and student advisor. Based on confirmation by the

 6 University of Phoenix representatives of the Corporate Relationships Representations, Plaintiff

 7 chose to enroll at University of Phoenix. Plaintiff continued to encounter the Corporate

 8 Relationships Representations while a student at University of Phoenix. Plaintiff also relied on

 9 these Representations in choosing to remain a student at University of Phoenix. Plaintiff sought

10 and did not find employment with any of the companies that Defendants purported to have

11 relationships providing job or career opportunities specifically to University of Phoenix graduates.

12 Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that the

13 advertisements touting relationships with and job or career opportunities specifically for

14 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

15 discover, and did not know of facts that would have caused a reasonable person to suspect, that

16 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

17 applicable limitations period.

18          51.    Plaintiff Marjorie Moss was at all relevant times a resident of La Palma, California.
19 Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of attending

20 University of Phoenix, and graduated in 2019 with a Bachelor of Science degree in Criminal

21 Justice Administration. Plaintiff attended classes at the Rancho Cucamonga Campus in California.

22 Plaintiff relied on Defendants’ advertisements making the Corporate Relationships

23 Representations, touting relationships and job or career opportunities with certain companies,

24 when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’

25 advertisements in approximately 2013, in University of Phoenix website. The Corporate

26 Relationships Representations were reiterated by a University of Phoenix counselor and
27 enrollment advisor. Based on confirmation by the University of Phoenix representatives of the

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 1 Corporate Relationships Representations, Plaintiff chose to enroll at University of Phoenix.

 2 Plaintiff continued to encounter the Corporate Relationships Representations while a student at

 3 University of Phoenix. Plaintiff also relied on these Representations in choosing to remain a

 4 student at University of Phoenix. Plaintiff sought and did not find employment with any of the

 5 companies that Defendants purported to have relationships providing job or career opportunities

 6 specifically to University of Phoenix graduates. Plaintiff would not have enrolled in University of

 7 Phoenix if Plaintiff had known that the advertisements touting relationships with and job or career

 8 opportunities specifically for University of Phoenix graduates at certain companies were false and

 9 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

10 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

11 wrongful conduct until within the applicable limitations period.

12          52.    Plaintiff Lisa Ramirez was at all relevant times a resident of Murrieta, California.
13 Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of attending

14 University of Phoenix, and graduated in 2017 with a Bachelor of Science degree in Human

15 Services, and in 2020 with a Master of Science degree in Accounting. Plaintiff attended classes

16 online in Murrieta, California. Plaintiff relied on Defendants’ advertisements making the

17 Corporate Relationships Representations, touting relationships and job or career opportunities with

18 certain companies, when choosing to enroll in University of Phoenix. Plaintiff initially
19 encountered Defendants’ advertisements in approximately 2013, in television ads, radio ads, and

20 on the Camp Pendleton Base. The Corporate Relationships Representations were reiterated by a

21 University of Phoenix financial advisor and counselor. Based on confirmation by the University

22 of Phoenix representatives of the Corporate Relationships Representations, Plaintiff chose to enroll

23 at University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

24 Representations while a student at University of Phoenix. Plaintiff also relied on these

25 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

26 not find employment with any of the companies that Defendants purported to have relationships
27 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

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 1 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

 2 touting relationships with and job or career opportunities specifically for University of Phoenix

 3 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

 4 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

 5 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

 6 period.

 7           53.   Plaintiff Kayla Rasmussen was at all relevant times a resident of Fairfield,
 8 California. Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of

 9 attending University of Phoenix, and graduated in 2017 with a Bachelor of Science degree in

10 Health Administration. Plaintiff attended classes online. Plaintiff relied on Defendants’

11 advertisements making the Corporate Relationships Representations, touting relationships and job

12 or career opportunities with certain companies, when choosing to enroll in University of Phoenix.

13 Plaintiff initially encountered Defendants’ advertisements in approximately 2014, in radio ads,

14 television ads, and on the University of Phoenix website. The Corporate Relationships

15 Representations were reiterated by a University of Phoenix recruiter and a senior enrollment

16 advisor. Based on confirmation by the University of Phoenix representatives of the Corporate

17 Relationships Representations, Plaintiff chose to enroll at University of Phoenix. Plaintiff

18 continued to encounter the Corporate Relationships Representations while a student at University
19 of Phoenix. Plaintiff also relied on these Representations in choosing to remain a student at

20 University of Phoenix. Plaintiff sought and did not find employment with any of the companies

21 that Defendants purported to have relationships providing job or career opportunities specifically

22 to University of Phoenix graduates. Plaintiff would not have enrolled in University of Phoenix if

23 Plaintiff had known that the advertisements touting relationships with and job or career

24 opportunities specifically for University of Phoenix graduates at certain companies were false and

25 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

26 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’
27 wrongful conduct until within the applicable limitations period.

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 1           54.   Plaintiff Kao Saelee was at all relevant times a resident of Sacramento, California.
 2 Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of attending

 3 University of Phoenix, and graduated in 2016 with a Bachelor of Science degree in Information

 4 Technology. Plaintiff attended classes online. Plaintiff relied on Defendants’ advertisements

 5 making the Corporate Relationships Representations, touting relationships and job or career

 6 opportunities with certain companies, when choosing to enroll in University of Phoenix. Plaintiff

 7 initially encountered Defendants’ advertisements in approximately 2013, in television ads and

 8 flyers. The Corporate Relationships Representations were reiterated by a University of Phoenix

 9 enrollment advisor and admissions representative. Based on confirmation by the University of

10 Phoenix representatives of the Corporate Relationships Representations, Plaintiff chose to enroll

11 at University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

12 Representations while a student at University of Phoenix. Plaintiff also relied on these

13 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

14 not find employment with any of the companies that Defendants purported to have relationships

15 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

16 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

17 touting relationships with and job or career opportunities specifically for University of Phoenix

18 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not
19 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

20 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

21 period.

22           55.   Plaintiff Benito Serrano was at all relevant times a resident of Menifee, California.
23 Plaintiff enrolled in University of Phoenix in 2014, paid tuition and associated costs of attending

24 University of Phoenix, and graduated in 2017 with a Bachelor of Science degree in Business.

25 Plaintiff attended classes at the Murrieta, San Bernardino and Ontario, California Campuses.

26 Plaintiff relied on Defendants’ advertisements making the Corporate Relationships
27 Representations, touting relationships and job or career opportunities with certain companies,

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 1 when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’

 2 advertisements in approximately 2014, in television ads, brochures, and on the University of

 3 Phoenix website. The Corporate Relationships Representations were reiterated by a University of

 4 Phoenix recruiter and a counselor. Based on confirmation by the University of Phoenix

 5 representatives of the Corporate Relationships Representations, Plaintiff chose to enroll at

 6 University of Phoenix. Plaintiff continued to encounter the Corporate Relationships

 7 Representations while a student at University of Phoenix. Plaintiff also relied on these

 8 Representations in choosing to remain a student at University of Phoenix. Plaintiff sought and did

 9 not find employment with any of the companies that Defendants purported to have relationships

10 providing job or career opportunities specifically to University of Phoenix graduates. Plaintiff

11 would not have enrolled in University of Phoenix if Plaintiff had known that the advertisements

12 touting relationships with and job or career opportunities specifically for University of Phoenix

13 graduates at certain companies were false and misleading. Plaintiff did not discover, and did not

14 know of facts that would have caused a reasonable person to suspect, that Plaintiff had suffered

15 harm that was caused by Defendants’ wrongful conduct until within the applicable limitations

16 period.

17           56.    Plaintiff Sandra Sifontes was at all relevant times a resident of Long Beach,
18 California. Plaintiff enrolled in University of Phoenix in 2015, paid tuition and associated costs of
19 attending University of Phoenix, and graduated in 2019 with a Bachelor of Science degree in

20 Business. Plaintiff attended classes at classes online. Plaintiff relied on Defendants’ advertisements

21 making the Corporate Relationships Representations, touting relationships and job or career

22 opportunities with certain companies, when choosing to enroll in University of Phoenix. Plaintiff

23 initially encountered Defendants’ advertisements in approximately 2014, on television ads, and

24 radio ads. The Corporate Relationships Representations were reiterated by a University of Phoenix

25 recruiter and a counselor. Based on confirmation by the University of Phoenix representatives of

26 the Corporate Relationships Representations, Plaintiff chose to enroll at University of Phoenix.
27 Plaintiff continued to encounter the Corporate Relationships Representations while a student at

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 1 University of Phoenix. Plaintiff also relied on these Representations in choosing to remain a

 2 student at University of Phoenix. Plaintiff sought and did not find employment with any of the

 3 companies that Defendants purported to have relationships providing job or career opportunities

 4 specifically to University of Phoenix graduates. Plaintiff would not have enrolled in University of

 5 Phoenix if Plaintiff had known that the advertisements touting relationships with and job or career

 6 opportunities specifically for University of Phoenix graduates at certain companies were false and

 7 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

 8 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

 9 wrongful conduct until within the applicable limitations period.

10          57.    Plaintiff Miesha D. Tobin was at all relevant times a resident of Hemet, California.
11 Plaintiff enrolled in University of Phoenix in 2012, paid tuition and associated costs of attending

12 University of Phoenix, and graduated in 2014 with an Associate of Arts degree. Plaintiff attended

13 classes online. Plaintiff relied on Defendants’ advertisements making the Corporate Relationships

14 Representations, touting relationships and job or career opportunities with certain companies,

15 when choosing to enroll in University of Phoenix. Plaintiff initially encountered Defendants’

16 advertisements in approximately 2012, in television ads and on the University of Phoenix website.

17 The Corporate Relationships Representations were reiterated by a University of Phoenix

18 enrollment advisor. Based on confirmation by the University of Phoenix representative of the
19 Corporate Relationships Representations, Plaintiff chose to enroll at University of Phoenix.

20 Plaintiff continued to encounter the Corporate Relationships Representations while a student at

21 University of Phoenix. Plaintiff also relied on these Representations in choosing to remain a

22 student at University of Phoenix. Plaintiff sought and did not find employment with any of the

23 companies that Defendants purported to have relationships providing job or career opportunities

24 specifically to University of Phoenix graduates. Plaintiff would not have enrolled in University of

25 Phoenix if Plaintiff had known that the advertisements touting relationships with and job or career

26 opportunities specifically for University of Phoenix graduates at certain companies were false and
27 misleading. Plaintiff did not discover, and did not know of facts that would have caused a

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 1 reasonable person to suspect, that Plaintiff had suffered harm that was caused by Defendants’

 2 wrongful conduct until within the applicable limitations period.

 3          58.    Plaintiff Tierra Tubbs was at all relevant times a resident of Canyon Country,
 4 California. Plaintiff enrolled in University of Phoenix in 2013, paid tuition and associated costs of

 5 attending University of Phoenix, and graduated in 2015 with a Bachelor of Science degree in

 6 Health Administration. Plaintiff attended classes at The Woodland Hills Learning Center, Harbor

 7 Gateway Campus, and online. Plaintiff relied on Defendants’ advertisements making the Corporate

 8 Relationships Representations, touting relationships and job or career opportunities with certain

 9 companies, when choosing to enroll in University of Phoenix. Plaintiff initially encountered

10 Defendants’ advertisements in approximately 2013, in television commercials, on the University

11 of Phoenix website, in radio ads, YouTube videos, and brochures. The Corporate Relationships

12 Representations were reiterated by a University of Phoenix recruiter. Based on confirmation by

13 the University of Phoenix representative of the Corporate Relationships Representations, Plaintiff

14 chose to enroll at University of Phoenix. Plaintiff continued to encounter the Corporate

15 Relationships Representations while a student at University of Phoenix. Plaintiff also relied on

16 these Representations in choosing to remain a student at University of Phoenix. Plaintiff sought

17 and did not find employment with any of the companies that Defendants purported to have

18 relationships providing job or career opportunities specifically to University of Phoenix graduates.
19 Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that the

20 advertisements touting relationships with and job or career opportunities specifically for

21 University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

22 discover, and did not know of facts that would have caused a reasonable person to suspect, that

23 Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the

24 applicable limitations period.

25          59.    Plaintiff Shamica Whittaker was at all relevant times a resident of Sacramento,
26   California. Plaintiff enrolled in University of Phoenix in 2016, paid tuition and associated costs
27   of attending University of Phoenix, and graduated in 2020 with a Bachelor of Science degree in

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 1   Psychology. Plaintiff attended classes online in Sacramento, California. Plaintiff relied on

 2   Defendants’ advertisements making the Corporate Relationships Representations, touting

 3   relationships and job or career opportunities with certain companies, when choosing to enroll in

 4   University of Phoenix. Plaintiff initially encountered Defendants’ advertisements in

 5   approximately 2015, in television ads, Facebook, and The University of Phoenix website, and

 6   radio ads. The Corporate Relationships Representations were reiterated by a University of

 7   Phoenix recruiter, and admissions representative, financial advisor. Based on confirmation by the

 8   University of Phoenix representative of the Corporate Relationships Representations, Plaintiff

 9   chose to enroll at University of Phoenix. Plaintiff continued to encounter the Corporate

10   Relationships Representations while a student at University of Phoenix. Plaintiff also relied on

11   these Representations in choosing to remain a student at University of Phoenix. Plaintiff sought

12   and did not find employment with any of the companies that Defendants purported to have

13   relationships providing job or career opportunities specifically to University of Phoenix

14   graduates. Plaintiff would not have enrolled in University of Phoenix if Plaintiff had known that

15   the advertisements touting relationships with and job or career opportunities specifically for

16   University of Phoenix graduates at certain companies were false and misleading. Plaintiff did not

17   discover, and did not know of facts that would have caused a reasonable person to suspect, that

18   Plaintiff had suffered harm that was caused by Defendants’ wrongful conduct until within the
19   applicable limitations period.

20                                            DEFENDANTS
21          60.     The University of Phoenix, Inc. is an Arizona corporation, with its principal place
22 of business at 4025 S. Riverpoint Parkway, Phoenix AZ, 85040. University of Phoenix transacts

23 or has transacted business in this district and throughout the United States. At all times material to

24 this Complaint, acting alone or in concert with others, University of Phoenix has advertised,

25 marketed, distributed, or sold educational products and services to consumers throughout the

26 United States, California, and in this district. Defendant University of Phoenix may be served with
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 1 process through its registered agent Corporation Service Company D/B/A CSC Lawyers

 2 Incorporating Service Company, 2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833.

 3          61.     Apollo Education Group, Inc., formerly known as Apollo Group, Inc., transacts or
 4 has transacted business in this district and throughout the United States. Apollo Education Group

 5 parent company of The University of Phoenix, Inc. At all times material to this Complaint, with

 6 respect to the acts and practices of The University of Phoenix, Inc. that are described below, Apollo

 7 Education Group, Inc. dominated or controlled those acts or practices, knew of or approved those

 8 acts and practices, or benefited from those acts and practices. Defendant Apollo Education Group,

 9 may be served with process through its registered agent Corporation Service Company D/B/A CSC

10 Lawyers Incorporating Service Company, 2710 Gateway Oaks Drive, Suite 150N, Sacramento,

11 CA 95833.

12          62.     DOES 1 through 10 are sued under fictitious names, which Plaintiffs will amend
13 upon identification and knowledge of their true names. Along with Defendants The University of

14 Phoenix, Inc. and Apollo Education Group, Inc., each DOE Defendant is a proximate cause of

15 Plaintiffs’ harm.

16
                           Overview of Defendants’ Business and Advertising
17
            63.     Apollo Education Group, Inc. operated University of Phoenix, a private, for-profit
18
     post-secondary educational institution, with approximately 55 campuses throughout the United
19
     States. Though University of Phoenix offers both in-person and online classes, most University of
20
     Phoenix students attend class exclusively online. University of Phoenix offers certificate courses
21
     and associates, bachelors, masters, and doctoral degree programs.
22
            64.     At all relevant times Apollo Education Group, Inc. was the parent company of
23
     University of Phoenix, and controlled, dominated, or directed the acts and practices of University
24
     of Phoenix, and benefitted from University of Phoenix’s decisions and profitability. In fact, Apollo
25
     Education Group, Inc. derived between 78-91% of its annual net revenue from University of
26
     Phoenix from 2012 through 2021. University of Phoenix’s founder, John Sperling, was the Apollo
27
     Education Group, Inc. Board Chairman through 2012, and his son, Peter Sperling took over as the
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 1 Apollo Education Group, Inc. Board Chairman in 2012. University of Phoenix presented various

 2 advertising campaigns at issue to the Apollo Education Group, Inc. Board for its review and

 3 endorsement, and Apollo Education Group, Inc. ultimately gave “total support” to University of

 4 Phoenix for such advertising campaigns, including the Let’s Get to Work campaign described

 5 herein.

 6           65.    University of Phoenix has charged consumers tuition ranging from about $7,400 to
 7 $19,400 per year, depending on the program.

 8           66.    Since 2012, University of Phoenix’s net revenue has exceeded $13.5 billion.
 9 Apollo Education Group, Inc., during the same time, derived between 78% to 91% of its annual

10 net revenue from University of Phoenix.

11           67.    Apollo Education Group, Inc. and University of Phoenix have relied heavily on
12 advertising to attract students to University of Phoenix, including specific advertisements targeting

13 military and Hispanic consumers. Apollo Educations Group, Inc. and University of Phoenix spent

14 over $1.7 billion on advertising and marketing between fiscal years 2013 and 2015 alone.

15           68.    Prior to 2012, Defendants’ advertising campaigns for University of Phoenix
16 primarily emphasized factors such as flexibility, convenience, online coursework, and

17 accreditation. By early 2012, however, Defendants’ market research indicated that this advertising

18 no longer differentiated University of Phoenix from its competitors, which were touting similar
19 benefits.

20           69.    Additionally, according to SEC filings and internal documents, University of
21 Phoenix’s enrollment numbers were declining due to increased competition for students. The

22 average enrollment in degree programs at University of Phoenix between 2010 and 2012 dropped

23 from approximately 460,900 to 356,900 students.

24                          Defendants’ “Let’s Get To Work” Advertising Campaign
25           70.    In 2012, based on market research, Defendants adopted an advertising strategy
26 focused on claims connecting a University of Phoenix education with successful career or
27 employment outcomes. Defendants’ research showed that many students decided to enroll in post-

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 1 secondary programs because of the potential for career success, including the belief that an

 2 education will get them a job or a better salary. But Defendants’ research also showed that

 3 “consumers currently do not consider University of Phoenix to be their top choice… because they

 4 do not believe University of Phoenix education will provide them the career outcome

 5 advancements they desire.”

 6         71.     Defendants released a new advertising campaign in the summer of 2012 to change
 7 this perception. Titled “Let’s Get to Work,” the campaign featured numerous high-profile

 8 corporate employers, such as Microsoft, Twitter, Adobe, and Yahoo!. The overarching goal of the

 9 campaign was to convince consumers that University of Phoenix students experience career

10 success because of University of Phoenix. Specifically, Defendants represented that University of

11 Phoenix worked with companies to create career or employment opportunities for University of

12 Phoenix students, and that University of Phoenix worked with the companies to develop

13 curriculum oriented to the companies’ needs.

14         72.     Defendants selected companies to feature in their advertisements based on desired
15 brand association. The strategy was to focus on “large, stable, technology-based, forward-focused

16 companies with great reputations” because these companies drove the highest level of prospective

17 student interest.

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 1          73.     In reality, these companies were not working with University of Phoenix or Apollo
 2 Education Group, Inc. to create job opportunities for University of Phoenix students or to develop

 3 curriculum.

 4                                      “Parking Lot” Television Ad
 5          74.     Defendants have widely disseminated or caused to be disseminated, an
 6 advertisement, known as “Parking Lot,” on numerous television stations, commencing around

 7 October 15, 2012.

 8          75.     Narrated by Phylicia Rashad, known for her television role as Clair Huxtable, a
 9 successful attorney who balances work with family on The Cosby Show, Ms. Rashad’s voice can

10 be heard saying as the ad begins: “Like a lot of things, trying to find a better job can be frustrating,

11 so at University of Phoenix we’re working with a growing list of almost 2,000 corporate partners,

12 companies like Microsoft, American Red Cross, and Adobe, to create options for you.”

13          76.     Ms. Rashad concludes the commercial by stating: “Not only that, we’re using what
14 we learn from these partners to shape our curriculum so that when you find a job you want, you’ll

15 be a perfect fit. Let’s Get to Work.”

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            77.     In reality, the companies referenced in the “Parking Lot” advertisement did not
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     have relationships with University of Phoenix or Apollo Education Group, Inc., and were not
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 1 working with Defendants to create job options for University of Phoenix students or to develop

 2 curriculum. Many of the “2,000 corporate partners,” including the specific companies referenced

 3 in the “Parking Lot” advertisement, were what Defendants referred to as “Workforce Solutions”

 4 (WFS) partners - companies whose own employees received a tuition reduction benefit from

 5 University of Phoenix in exchange for the companies promoting Defendants’ academic programs.

 6         78.     Notwithstanding the misleading, deceptive, and false nature of the ads, University
 7 of Phoenix’s Chief Business Operating Officer reported to the marketing team that he had

 8 presented the ad campaign to the Apollo Education Group, Inc. Board for its review and that the

 9 Board was “completely supportive of our strategies to differentiate UOPX.” He further “assure[d]”

10 the team that the “Let’s Get to Work” campaign had the “total support” of Defendants’ founder,

11 who also was the Apollo Education Group, Inc. Board Chairman at the time, as well as his son,

12 who subsequently took over as Chairman in December 2012.

13                                    “Train Stops” Television Ad
14         79.     Another example of an advertisement disseminated on numerous television station
15 as part of Defendants’ “Let’s Get to Work” campaign’s is titled “Train Stops.” The purpose of the

16 “Train Stops” advertisement was to highlight that University of Phoenix’s corporate partners

17 connect University of Phoenix students with meaningful employment opportunities.

18         80.     As the scene open inside a subway train, Ms. Rashad states: “At University of
19 Phoenix, we know the value of your education is where it can take you.” The camera focuses on a

20 female passenger looking up at a station map depicting logos of top companies, including Waste

21 Management, the American Red Cross, Methodist Hospital System, and Adobe.

22         81.     A blue billboard in the right corner states, “Get your foot in a few thousand doors.”
23         82.     The advertisement next shows additional company logos, including AT&T, and
24 turns to show the female passenger disembarking at her destination. As she does so, the voiceover

25 concludes: “which is why we are proud to help connect our students with leading employers across

26 the nation. Let’s get to work.”
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 1          83.    A University of Phoenix survey designed to gauge how well the ads delivered the
 2 intended message validated that the advertisement “conveys a compelling message that suggests

 3 that an education with UOPX opens doors and that UOPX can help them find jobs with specific

 4 corporate partners.”

 5          84.    In reality, Apollo Education Group, Inc. and University of Phoenix’s relationships
 6 with “leading” employers or companies, including the corporate partners referenced in the “Train

 7 Stops” ad, did not create job opportunities for University of Phoenix students. University of

 8 Phoenix merely engaged a third-party provider to host an online portal that included job listings

 9 from some of these companies. Most, if not all, of the job listings were in fact widely available to

10 non- University of Phoenix students.

11                                  “Hall of Success” Television Ad
12          85.     Defendants also widely disseminated, or caused to be disseminated, on numerous
13 television stations an advertisement known as “Hall of Success.”

14          86.    In the opening scene of this advertisement, the camera zooms in on two heavy oak
15 doors that open to reveal a wall covered in gilded frames. Ms. Rashad states: “The Hall of Success.

16 Here we honor the proud accomplishments of our students and alums.” In each frame is a person

17 and a company logo, representing University of Phoenix alumni at various top employers such as

18 the American Red Cross, CBS Radio, Microsoft, and Yahoo!.
19          87.    After identifying “Maria Salazar” at the American Red Cross and “Garlin Smith”
20 at Yahoo!, Ms. Rashad states: “And for every Garlin, thousands more are hired by hundreds of top

21 companies.” As she makes this statement, the camera pans to show a vast hall with hundreds of

22 additional gilded portraits.

23          88.    Ms. Rashad concludes: “That’s right. University of Phoenix. Enroll now. We have
24 a frame waiting for you.”

25          89.    University of Phoenix’s Chief Marketing Officer described the “Hall of Success”
26 ad as a natural follow up to “Parking Lot” and “Train Stops” and their corporate partner messaging
27 by associating names and faces with these well-known companies.

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 1          90.     In reality, hundreds of top companies did not regularly hire thousands of University
 2 of Phoenix students because of University of Phoenix’s relationships. In fact, many University of

 3 Phoenix students were employed by those companies prior to or at the time they attended

 4 University of Phoenix, or were hired regardless of their graduation from University of Phoenix.

 5          91.     For example, an alumnus depicted in the ad as employed at the American Red Cross
 6 joined the organization in 1997 and obtained a Master’s degree from University of Phoenix in

 7 2005 while already working at the American Red Cross for nearly eight years.

 8          92.     Indeed, Defendants knew that many University of Phoenix students or graduates
 9 were already working at their respective companies before enrolling in University of Phoenix, and

10 that University of Phoenix’s relationship was not the reason for their employment at the company.

11                                        Curriculum Radio Ad
12          93.     In a radio advertisement, Defendants touted University of Phoenix’s relationships
13 with particular companies, representing that these companies worked with University of Phoenix

14 to design curriculum. The advertisement prominently claimed: If you want to know how to get

15 hired, it pays to go right to the source. At University of Phoenix we’re talking to companies like

16 AT&T, Sodexo, and Adobe about what they’re looking for in future employees. They’re helping

17 us shape our curriculum to make sure today’s classes help prepare you to pursue tomorrow’s jobs.

18          94.     In reality, AT&T, Sodexo, and Adobe did not work with University of Phoenix to
19 develop curriculum that would prepare students for jobs at those companies.

20                                        Internet Ads & Claims
21          95.     Defendants also have made the deceptive claims about employment opportunities
22 and curriculum via digital ads, social media posts, and representations on their websites. Defendants

23 disseminated and advertised the “Let’s Get to Work” campaign, including the advertisement

24 described above, on internet sites such as Facebook, Twitter, and YouTube. As a result of these

25 efforts, the advertisements have garnered more than a billion impressions on social media channels

26 such as Facebook, Twitter, and YouTube.
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 1          96.    For example, on or around October 16, 2012, University of Phoenix claimed in a
 2 Facebook post that University of Phoenix is working with almost 2,000 corporate partners to

 3 provide job opportunities to University of Phoenix students and touted “Corporate Partnerships

 4 Shaping Curriculum.”

 5          97.    Similarly, Defendants have featured digital ads and banners on the internet
 6 representing that their relationships with companies provided students with job opportunities, using

 7 the hook: “Get your foot in a few thousand doors.”

 8          98.    Calling certain companies “Employer Partners,” University of Phoenix’s website
 9 has represented that University of Phoenix’s relationships with these companies create

10 employment opportunities for students. Defendants also have represented on their website that

11 University of Phoenix’s curricula was “developed in collaboration with industry leaders to help

12 cultivate skills valued by employers.” These claims have been made in proximity to logos of

13 recognizable companies, including Fortune 500 companies. The imagery of the Fortune 500

14 Companies names combined with the voice-over representations together makes the

15 advertisements misleading and deceptive.

16                      Ads Targeting Current and Former Military Members
17          99.    Defendants also have made deceptive claims about employment opportunities in
18 ads to current and former military members. University of Phoenix has been the largest recipient
19 of Post-9/11 GI bill benefits since the program’s inception. For example, University of Phoenix

20 received over $271 million in 2012-2013 alone.

21          100.   University of Phoenix created and disseminated an advertisement that claimed
22 University of Phoenix’s corporate partnerships with companies like AT&T and Allied Barton

23 offered hiring programs from University of Phoenix students who were veterans.

24          101.   In reality, Defendants’ relationships with these companies did not create
25 employment opportunities for University of Phoenix students who were current or former military

26 members. The companies’ hiring programs were open to all veterans and were not a result of their
27 status as University of Phoenix “Corporate Partners.”

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 1                                 Enrollment Representative Claims
 2          102.   Beginning in or around September 2012, in conjunction with its “Let’s Get to
 3 Work” campaign, Defendants rolled out talking points and encouraged employees, including

 4 “enrollment advisors,” to communicate these false or misleading messages to students and

 5 prospective students.

 6          103.   Defendants routinely sent links to the advertisements along with a campaign
 7 overview to employees. A one-sheet summary of the campaign talking points for Hall of Success

 8 included the claims that “Corporate Partnerships” are “Providing job opportunities and helping

 9 shape our curriculum.” Defendants also tasked employees, some dubbed “Phoenix Champions,”

10 with messaging the campaign and provided talking points to various University of Phoenix teams,

11 including enrollment advisors, academic counselors, finance advisors, call center employees, and

12 other student or prospective student facing employees. The talking points claimed that University

13 of Phoenix’s relationships with corporate partners, including many Fortune 500 companies,

14 provided an “inside track” and a “competitive advantage to our students.” As proof that these

15 relationships were working, Defendants directed employees to claims that alumni were being hired

16 by “hundreds of top companies like Microsoft, Yahoo!, American Red Cross and CBS,”

17 Additional talking points described the online jobs portal as providing “[a]ccess to unique job

18 opportunities and connections exclusive to University of Phoenix Students.” In fact, University of
19 Phoenix portal listings were not unique or specifically for University of Phoenix students, but were

20 widely available to non- University of Phoenix students.

21          104.   At Defendants’ behest, University of Phoenix enrollment advisors began telling
22 prospective students that companies, including Fortune 500 companies, hired University of

23 Phoenix students because of the school’s corporate partnerships. For example, enrollment advisors

24 represented to callers inquiring about University of Phoenix that the school has “over 2,000

25 partners in the local area… they hire our students first and from there they go on,” and that

26 University of Phoenix has “over 2,000 corporate partners and national industry partners that are
27 looking specifically at University of Phoenix students to hire instead of any other schools.”

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 1          105.   In reality, the companies were not specifically hiring University of Phoenix
 2 students over other candidates, and were not working with University of Phoenix to develop

 3 tailored curricula. The “partnerships” were primarily marketing relationships that did not create

 4 jobs or curricula for University of Phoenix students.

 5                    Claims Regarding Relationships with Corporate Partners
 6          106.   The “Let’s Get to Work” campaign prominently touted that University of Phoenix’s
 7 relationships with companies, such as Adobe, the American Red Cross, Avis, AT&T, Hitachi,

 8 MGM, Microsoft, Newell Rubbermaid, Sodexo, Twitter, and Waste Management, create job

 9 opportunities specifically for University of Phoenix students.

10          107.   Defendants’ relationships with these companies did not create or provide job
11 opportunities for University of Phoenix students. Any benefits from the relationships applied to

12 current employees of the companies who would be able to attend University of Phoenix at a

13 reduced cost.

14          108.   Moreover, any job opportunities with these companies were not unique to
15 University of Phoenix students, and in fact, were widely available on other websites or were simply

16 copied by University of Phoenix employees into the University of Phoenix career portal.

17          109.   Defendants knew that representations about job or career opportunities were false
18 or misleading because they conducted annual alumni surveys that asked about employment
19 outcomes. The 2013 alumni survey showed that approximately 60% of University of Phoenix

20 students stayed with their same employer after graduation. In fact, the survey found “a significant

21 disparity” between alumni expectations for obtaining a new job and the reality of obtaining a new

22 job with any company base on a University of Phoenix degree.

23                           Claims Regarding Curriculum Development
24          110.   Defendants also have represented that University of Phoenix has worked with
25 companies, such as Adobe, the American Red Cross, Avis, AT&T, MGM, Microsoft, Newell,

26 Rubbermaid, Sodexo, and Twitter, to develop curriculum.
27          111.   In reality, these companies did not work with Defendants to develop curriculum.
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 1           112.   In fact, Defendants were aware that the claim was baseless. In November 2012, a
 2 University of Phoenix a Senior Vice President alerted numerous employees, including University

 3 of Phoenix and Apollo Education Group, Inc. executives, that the “Let’s Get to Work” campaign

 4 was creating “misconceptions,” including that companies were working with University of

 5 Phoenix to develop its curriculum. The Senior VP explained that University of Phoenix is not

 6 “working directly with companies one at a time and/or creating custom curriculum based upon

 7 their needs.”

 8           113.   Similarly, in an October 24, 2012 email chain, Apollo Education Group, Inc. and
 9 University of Phoenix employees discussed how Defendants “have not worked with Microsoft

10 yet,” even though Defendants already had begun broadcasting ads, including “Parking Lot,” that

11 claimed the company was working with University of Phoenix to develop curriculum.

12           114.   Rather than working with the companies touted in its advertisements, Defendants
13 have relied on a list of standard job competencies generated by a third-party human resources

14 company. This third-party framework identifies general skills and traits (such as “leading and

15 deciding,” “adapting and coping,” and “organizing and executing”) associated with particular jobs

16 and industries. Contrary to what Defendants promised, this third-party framework does not reflect

17 input from companies, such as Adobe, Microsoft, or Twitter, about their specific needs.

18           115.   Defendants’ research showed that employment prospects associated with post-
19 secondary education were an important factor for many consumers deciding whether to enroll at

20 University of Phoenix.

21           116.   While developing the “Let’s Get to Work” campaign, University of Phoenix
22 surveyed the influence of its advertisements on consumers. According to one survey, “[t]he key

23 compelling aspect of th[e] [“Parking Lot”] spot was the communication of University of Phoenix’s

24 partnership with 1,200 large corporations. These partnerships serve to inspire consumers to

25 consider University of Phoenix and also served to validate/legitimize University of Phoenix as a

26 brand.”
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 1          117.       By January 22, 2013, as University of Phoenix continued to roll out its “Let’s Get
 2 to Work” campaign, the University of Phoenix Senior Vice President for University Strategy

 3 reported to the President’s Cabinet (a group of University of Phoenix executives advising

 4 University of Phoenix’s President) that the “repositioning of UOPX as connecting education to

 5 careers (E2C) appears to be paying off. Early results indicate significantly improved conversion

 6 rates…”

 7          118.       Another study conducted around May 24, 2013 reported that the “Let’s Get to
 8 Work” advertising campaign, including claims about “[r]elationships with leading employers and

 9 a dynamic curriculum designed with their input,” increased the percentage of consumers who

10 would consider attending University of Phoenix from 12% to 29%.

11          119.       The Boards and executives of University of Phoenix and Apollo Education Group,
12 Inc. continued tracking the campaign’s effectiveness in increasing “consumer consideration” of

13 University of Phoenix.

14                                       FIRST CAUSE OF ACTION

15                                   FRAUD BY MISREPRESENTATION
            120.       Plaintiffs incorporate paragraphs 1 through 119 of this Complaint as though fully
16
     alleged herein.
17
            121.       Defendants misrepresented the benefits of graduating from University of Phoenix.
18
     Defendants falsely and misleadingly advertised working with certain prominent companies to
19
     develop curriculum and relationships with such companies created career or employment
20
     opportunities specifically for University of Phoenix graduates, the Corporate Relationships
21
     Representations, to induce potential students to purchase educational products and services, and
22
     to remain students through graduation. These representations were false, misleading, and
23
     deceptive.
24
            122.       Defendants made the Corporate Relationships Representations recklessly and
25
     without regard for the truth of said representations.
26
            123.       Defendants intended that Plaintiffs rely on the Corporate Relationships
27
     Representations when Plaintiffs enrolled and continued their studies at University of Phoenix.
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 1          124.       Plaintiffs   reasonably    relied   on    Defendants’     Corporate    Relationships
 2 Representations in making their decision to enroll and continue their studies at University of

 3 Phoenix.

 4          125.       As a result of reasonable reliance by each named Plaintiff, Plaintiffs enrolled at and
 5 continued their studies at University of Phoenix.

 6          126.       Plaintiffs sought and did not find employment with any of the companies that
 7 Defendants purported to have relationships providing job or career opportunities specifically to

 8 University of Phoenix graduates.

 9          127.       As a result of Defendants’ conduct detailed herein, Plaintiffs have been injured in
10 that they paid tuition, purchased books and supplies, incurred debt, and attended classes in reliance

11 on Defendants’ representations.

12          128.       Plaintiffs’ reliance on Defendants’ representations was the substantial factor in
13 causing Plaintiffs’ harms.

14                                      SECOND CAUSE OF ACTION

15                                      FRAUD BY CONCEALMENT
            129.       Plaintiffs incorporate paragraphs 1 through 128 of this Complaint as though fully
16
     alleged herein.
17
            130.       Defendants made representations to Plaintiffs that University of Phoenix worked
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     with certain companies to create career or employment opportunities for University of Phoenix
19
     students, and that University of Phoenix worked with these companies to develop curriculum oriented
20
     to the companies’ job needs.
21
            131.       Defendants’ representations about the relationships with certain companies, the
22
     Corporate Relationships Representations, were false, in that these companies were not working
23
     with University of Phoenix or Apollo Education Group, Inc. to create job opportunities for
24
     University of Phoenix students or to develop curriculum—a material fact which Defendants
25
     intentionally concealed and suppressed from Plaintiffs.
26
            132.       In reality, many companies were what Defendants referred to internally as
27
     “Workforce Solutions” (WFS) partners - companies whose own employees received a tuition
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 1 reduction benefit from University of Phoenix in exchange for the companies promoting

 2 Defendants’ academic programs. Defendants were under a duty to disclose to Plaintiffs the

 3 material facts concerning the Corporate Relationships Representations, as Plaintiffs purchased

 4 educational goods and services from Defendants in reliance on Defendants’ representations.

 5          133.       Defendants intentionally concealed or suppressed the true nature of the corporate
 6 relationships, with the intent that Plaintiffs would rely on these representations in enrolling and/or

 7 continuing to attend University of Phoenix.

 8          134.       Plaintiffs did not know about the true nature of the corporate relationships; had
 9 Plaintiffs known the true nature of the corporate relationships, Plaintiffs would not have chosen to

10 enroll at and/or continue to attend University of Phoenix.

11          135.       Defendants had exclusive knowledge of the true nature of the corporate
12 relationships and actively concealed the true nature of the corporate relationships from Plaintiffs

13 and the general public.

14          136.       As a result of Defendants’ intentional concealment or suppression of the true nature
15 of the corporate relationships, Plaintiffs enrolled at and/or continued to attend University of

16 Phoenix.

17          137.       Plaintiffs sought and did not find employment with any of the companies that
18 Defendants purported to have relationships providing job or career opportunities specifically to
19 University of Phoenix graduates.

20          138.       As a result of Defendants’ conduct detailed herein, Plaintiffs have been injured in
21 that they paid tuition, purchased books and supplies, incurred debt, and attended classes in reliance

22 on Defendants’ representations, which they believed to be true and accurate given Defendants

23 intentional concealment or suppression of material facts.

24                                    THIRD CAUSE OF ACTION
                                   NEGLIGENT MISREPRESENTATION
25
            139.        Plaintiffs incorporate paragraphs 1 through 138 of this Complaint as though fully
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     alleged herein.
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 1          140.     In the course of their business, Defendants' supplied false information about the
 2 benefits of obtaining a degree from University of Phoenix in advertising, marketing, or other

 3 promotion of their educational products and services, the Corporate Relationships Representations.

 4 Defendants supplied false information about working with certain prominent companies to develop

 5 curriculum and that relationships with such companies created career or employment opportunities

 6 specifically for University of Phoenix graduates, representing to Plaintiffs that said facts were true.

 7          141.     Although Defendants may claim to have believed that the Corporate Relationships
 8 Representations were true, Defendants had no reasonable grounds for believing the Corporate

 9 Relationships Representations were true when these representations were made.

10          142.     Defendants intended that Plaintiffs rely on the Corporate Relationships
11 Representations in deciding to purchase educational products and services from University of

12 Phoenix, and/or to continue their studies with University of Phoenix through graduation.

13          143.     Plaintiffs   justifiably   relied   on   Defendants’     Corporate    Relationships
14 Representations in deciding to purchase educational products and services from University of

15 Phoenix, and/or to continue their studies with University of Phoenix through graduation.

16          144.     Plaintiffs sought and did not find employment with any of the companies that
17 Defendants purported to have relationships providing job or career opportunities specifically to

18 University of Phoenix graduates.
19          145.     Plaintiffs’ reliance on Defendants’ Corporate Relationships Representations in
20 deciding to purchase educational products and services from University of Phoenix, and/or to

21 continue their studies with University of Phoenix through graduation, was a substantial factor in

22 causing Plaintiffs’ harm, as Plaintiffs were induced to enroll at University of Phoenix and pay

23 tuition and other associated costs of attending University of Phoenix.

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 1                                     FOURTH CAUSE OF ACTION

 2         VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT
                                        (Cal. Civ. Code § 1750, et seq.)
 3
            146.        Plaintiffs incorporate paragraphs 1 through 145 of this Complaint as though fully
 4
     alleged herein.
 5
            147.        California’s Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code § 1750, et
 6
     seq., “shall be liberally construed and applied to promote its underlying purposes, which are to
 7
     protect consumers against unfair and deceptive business practices and to provide efficient and
 8
     economical procedures to secure such protection.” CAL. CIV. CODE § 1760.
 9
            148.        Plaintiffs purchased educational goods and services from University of Phoenix,
10
     as defined in Cal. Civ. Code § 1761(a).
11
            149.        Plaintiffs are “consumers” as that term is defined by the CLRA in Cal Civ. Code
12
     1761(d), because they purchased educational goods and services from University of Phoenix for
13
     “personal, family or household purposes.” CAL. CIV. CODE § 1761 (d).
14
            150.        Defendants’ actions, representations, and conduct violated the CLRA because
15
     they extend to transactions that intended to result, and which have resulted in, the sale of
16
     educational goods and services to consumers—Plaintiffs herein.
17
            151.        Defendants misrepresented the benefits of obtaining a degree from University of
18
     Phoenix in advertising, marketing, or other promotion of educational products and services.
19
     Defendants’ Corporate Relationships Representations were false, misleading, and deceptive.
20
            152.        Plaintiffs reasonably relied on Defendants’ representations in deciding to enroll in
21
     and to continue their studies at University of Phoenix through graduation.
22
            153.       Plaintiffs sought and did not find employment with any of the companies that
23
     Defendants purported to have relationships providing job or career opportunities specifically to
24
     University of Phoenix graduates.
25
            154.        California Civil Code §§1770(a)(5) prohibits “[r]epresenting that... services have
26
     characteristics... benefits... which they do not have....” Defendants have violated this provision by
27
     advertising working with certain prominent companies to develop curriculum and that
28
                                                          61
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 1 relationships with such companies created career or employment opportunities specifically for

 2 University of Phoenix graduates, which were false, not true, or inaccurate.

 3          155.       The facts concealed, omitted and misrepresented by Defendants are material in
 4 that a reasonable consumer would have considered them to be important in deciding whether to

 5 purchase the educational goods and services. Had Plaintiffs known the truth about Defendants’

 6 Corporate Relationships Representations, they would not have purchased educational goods and

 7 services from Defendants.

 8          156.       Plaintiffs have suffered injury in fact and actual damages resulting from
 9 Defendants’ material omissions and misrepresentations because they were induced to enroll at

10 University of Phoenix and pay tuition and associated costs of attending University of Phoenix.

11          157.       Prior to the filing of this Complaint, a notice letter was served on Defendants for
12 each Plaintiff in compliance with California Civil Code §1782(a). Plaintiffs sent Defendants

13 letters via certified mail, return receipt requested, advising Defendants that they are in violation of

14 the CLRA and must correct, repair, replace or otherwise rectify the violations of §1770. As of the

15 date of this filing, Defendants failed to remedy these violations.

16          158.       Pursuant to Civil Code §1780(a), Plaintiffs seek and are entitled to actual
17 damages, restitution of property, punitive damages, attorney’s fees and costs.

18                                      FIFTH CAUSE OF ACTION

19                 VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
                                  (Cal. Bus. & Prof. Code § 17200, et seq.)
20
            159.       Plaintiffs incorporate paragraphs 1 through 158 of this Complaint as though fully
21
     alleged herein.
22
            160.       The California Unfair Competition Law (“UCL”) provides in pertinent part that:
23
     “Unfair competition shall mean and include unlawful, unfair or fraudulent business practices and
24
     unfair, deceptive, untrue or misleading advertising…”
25

26                                          A. “Unlawful” Prong
27          161.       Defendants’ business practices, described herein violated the “unlawful” prong of
28
                                                         62
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 1 the UCL by violating the California Consumer Legal Remedies Act, Cal. Civ. Code §§ 1750, et

 2 seq.; the California False Advertising Law, Cal Civ. Code §§ 17500, et seq.; the California

 3 Postsecondary Education Act of 2009, Cal. Education Code §§ 94700, et seq.; and other applicable

 4 laws, as described herein.

 5          162.    To continue receiving and maximizing the amount of Title IV federal funding it
 6 received, Defendants engaged in illegal, unfair and deceptive conduct in the form of its fraudulent

 7 marketing scheme, as set forth herein, to further their goal of enrolling as many students as possible

 8 in its programs, all in violation of the California Private Postsecondary Education Act of 2009,

 9 because Defendants made promises or guarantees that overstated the employment and/or income

10 prospects of its graduates through its deceptive marketing practices. See Cal. Education Code §§

11 94700, et seq.

12                                          B. “Unfair” Prong

13          163.     Defendants’ business practices described herein violated the “unfair” prong of the
14 UCL in that the conduct is substantially injurious to consumers, offends public policy, and is

15 immoral, unethical, oppressive, and unscrupulous, as the gravity of the conduct outweighs any

16 alleged benefits. Defendants’ 90% Representation and Higher Earnings Representation are of no

17 benefit to consumers.

18                                        C. “Fraudulent” Prong
19
            164.     Defendants violated the “fraudulent” prong of the UCL by misrepresenting to
20
     Plaintiffs the benefits of obtaining a degree from University of Phoenix in advertising, marketing,
21
     or other promotion of educational products and services, where the Corporate Relationships
22
     Representations were false, misleading, and deceptive, as detailed herein.
23
            165.     Plaintiffs acted reasonably when they relied on Defendants’ misrepresentations in
24
     purchasing the educational goods and services—reasonably believing Defendants’ Corporate
25
     Relationships Representations were true and lawful.
26
            166.     Plaintiffs lost money or property as a result of Defendants’ UCL violations
27
     because Plaintiffs would not have purchased the educational goods and services absent
28
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 1 Defendants’ illegal conduct as set forth herein, or if the true facts were known concerning

 2 Defendants’ representations, and sought but did not find employment with any of the companies

 3 that Defendants purported to have relationships providing job or career opportunities specifically

 4 to University of Phoenix graduates.

 5            167.     As a result of Defendants’ conduct as set forth above, Plaintiffs are entitled to
 6 monetary relief.3

 7                                     SIXTH CAUSE OF ACTION

 8                   VIOLATION OF CALIFORNIA’S FALSE ADVERTISING LAW
                                  (Cal. Bus. & Prof. Code § 17500, et seq.)
 9
              168.     Plaintiffs incorporate paragraphs 1 through 167 of this Complaint as though fully
10
     alleged herein.
11
              169.     Under the FAL, the State of California makes it “unlawful for any person to make
12
     or disseminate or cause to be made or disseminated before the public in this state .... in any
13
     advertising device … or in any other manner or means whatever, including over the Internet, any
14
     statement, concerning … personal property or services, professional or otherwise, or performance
15
     or disposition thereof, which is untrue or misleading and which is known, or which by the exercise
16
     of reasonable care should be known, to be untrue or misleading.” CAL. BUS. & PROF. CODE §
17
     17500.
18
              170.     Defendants engaged in a marketing scheme whereby they misrepresented the
19
     benefits of obtaining a degree from University of Phoenix in advertising, marketing, or other
20
     promotion of educational products and services. The advertising, marketing, or other promotion
21
     included the Corporate Relationships Representations, conveying the false or inaccurate message
22
     about working with certain prominent companies to develop curriculum and that relationships with
23

24
     3
25   Plaintiffs are not requesting injunctive relief, under the California Business and Professions Code,
   to restrain such future acts of unfair competition by Defendants, as Defendants have already been
26 enjoined from engaging in the very same unfair competition practices complained of herein
   pursuant to the terms of a settlement agreement reached with the Federal Trade Commission. See
27 Federal Trade Commission v. The University of Phoenix, Inc. et al., Case No. CV-19-5772-PHX-
   ESW, Dist. Arizona, Doc. 15.
28
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 1 such companies created career or employment opportunities specifically for University of Phoenix

 2 graduates.

 3          171.    These representations were made through various means such as television,
 4 internet webpages, YouTube, brochures, print advertisements, emails, radio ads and in person by

 5 Defendants’ employees, agents, and/or representatives.

 6          172.    Defendant's advertisements were made in California and within this federal
 7 district, and come within the definition of advertising as contained in Bus. & Prof Code §§ 17500,

 8 et seq. in that the Corporate Relationships Representations were intended to induce Plaintiffs to

 9 purchase educational goods and services. Defendants knew the conduct was unauthorized,

10 inaccurate, and misleading.

11          173.    Defendants violated California law, as set forth herein, because the Corporate
12 Relationships Representations advertised working with certain prominent companies to develop

13 curriculum and that relationships with such companies created career or employment opportunities

14 specifically for University of Phoenix graduates.

15          174.    Defendants knew or should have known, through the exercise of reasonable care
16 that the Corporate Relationships Representations were untrue and misleading.

17          175.    Plaintiffs lost money or property as a result of Defendant's FAL violations because
18 they would not have purchased educational goods and services from Defendants absent
19 Defendants’ illegal conduct as set forth herein, or if the true facts were known concerning

20 Defendants’ Corporate Relationships Representations, and Plaintiffs sought and did not find

21 employment with any of the companies that Defendants purported to have relationships

22 providing job or career opportunities specifically to University of Phoenix graduates.

23          176.    Plaintiffs are therefore entitled to monetary relief.4
24
     4
25  Plaintiffs in are not requesting injunctive relief under the California Business and Professions
   Code to restrain such future acts of unfair competition by Defendants as Defendants have already
26 been enjoined from engaging in the very same unfair competition practices complained of herein,
   pursuant to the terms of a settlement agreement reached with the Federal Trade Commission. See
27 Federal Trade Commission v. The University of Phoenix, Inc. et al., Case No. CV-19-5772-PHX-
   ESW, Dist. Arizona, Doc. 15.
28
                                                      65
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 1                                    SEVENTH CAUSE OF ACTION
                                            CIVIL THEFT
 2                                      (Cal. Penal Code § 496)
 3           177.    Plaintiffs incorporate paragraphs 1 through 176 of this Complaint as though fully
 4 alleged herein.

 5           178.    Penal Code Section 496(a) states that “[e]very person who buys or receives any
 6 property that has been stolen or that has been obtained in any manner constituting theft or extortion,

 7 knowing the property to be so stolen or obtained, or who conceals, sells, withholds, or aids in

 8 concealing, selling, or withholding any property from the owner, knowing the property to be so

 9 stolen or obtained, shall be punished by imprisonment in a state prison, or in a county jail for not

10 more than one year.” CAL. PENAL CODE § 496(a).

11           179.    Penal Code Section 496(c) states that “Any person who has been injured by a
12 violation of subdivision (a) or (b) may bring an action for three times the amount of actual

13 damages, if any, sustained by the plaintiff, costs of suit, and reasonable attorney's fees.” CAL.

14 PENAL CODE § 496(c).

15           180.    Section 496(a) extends to property “that has been obtained in a manner constituting
16 theft.” CAL. PENAL CODE § 496(a).

17           181.    Penal Code Section 484 describes acts constituting theft. The first sentence of
18 Section 484(a) states in relevant part that “Every person . . . who shall knowingly and designedly,
19 by any false or fraudulent representation or pretense, defraud any other person of money . . . and

20 thereby fraudulently gets or obtains possession of money . . . is guilty of theft.” Cal. Penal Code §

21 484(a).

22           182.    Section 484(a) thus defines theft to include theft by false pretenses. Penal Code
23 Section 532 also defines criminal fraud in terms nearly identical to Section 484(a) and provides

24 that these acts are punishable “in the same manner and to the same extent as larceny.” CAL. PENAL

25 CODE § 532.

26           183.    As a result of the false and fraudulent representations by Defendants and their
27 employees, agents and/or representatives as set out above, Defendants knowingly and designedly,

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 1 by false or fraudulent representations or pretenses, defrauded Plaintiffs of the money and funds

 2 paid in connection with their enrollment and attendance at University of Phoenix through

 3 graduation, and thereby fraudulently obtained possession of money from Plaintiffs.

 4          184.       Further, Defendants have not only defrauded Plaintiffs of said property, but they
 5 have also knowingly withheld this property from Plaintiffs, with knowledge that the property was

 6 fraudulently obtained. Plaintiffs sent Defendants individual letters advising Defendants they have

 7 violated the CLRA and must correct, repair, replace or otherwise rectify the violations of

 8 §1770. As of the date of this filing, Defendants failed to remedy these violations.

 9          185.       Accordingly, Plaintiffs have been injured by a violation of Penal Code Section
10 496(a) and are therefore entitled pursuant to Penal Code Section 496(c) to three times the amount

11 of actual damages, together with costs of suit and reasonable attorney’s fees.

12                                      EIGHT CAUSE OF ACTION

13                                        EXEMPLARY DAMAGES
                                            (Cal. Penal Code § 496)
14
            186.       Plaintiffs incorporate paragraphs 1 through 185 of this Complaint as though fully
15
     alleged herein.
16
            187.       Penal Code Section 496(a) states that “[e]very person who buys or receives any
17
     property that has been stolen or that has been obtained in any manner constituting theft or extortion,
18
     knowing the property to be so stolen or obtained, or who conceals, sells, withholds, or aids in
19
     concealing, selling, or withholding any property from the owner, knowing the property to be so
20
     stolen or obtained, shall be punished by imprisonment in a state prison, or in a county jail for not
21
     more than one year.” CAL. PENAL CODE § 496(a).
22
            188.       Penal Code Section 496(c) states that “Any person who has been injured by a
23
     violation of subdivision (a) or (b) may bring an action for three times the amount of actual
24
     damages, if any, sustained by the plaintiff, costs of suit, and reasonable attorney's fees.” CAL.
25
     PENAL CODE § 496(c).
26
            189.       Section 496(a) extends to property “that has been obtained in a manner constituting
27
     theft.” CAL. PENAL CODE § 496(a).
28
                                                          67
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 1           190.   Penal Code Section 484 describes acts constituting theft. The first sentence of
 2 Section 484(a) states in relevant part that “Every person . . . who shall knowingly and designedly,

 3 by any false or fraudulent representation or pretense, defraud any other person of money . . . and

 4 thereby fraudulently gets or obtains possession of money . . . is guilty of theft.” Cal. Penal Code §

 5 484(a).

 6           191.   Section 484(a) thus defines theft to include theft by false pretenses. Penal Code
 7 Section 532 also defines criminal fraud in terms nearly identical to Section 484(a) and provides

 8 that these acts are punishable “in the same manner and to the same extent as larceny.” CAL. PENAL

 9 CODE § 532.

10           192.   As a result of the false and fraudulent representations by Defendants and their
11 employees, agents and/or representatives as set out above, Defendants knowingly and designedly,

12 by false or fraudulent representations or pretenses, defrauded Plaintiffs of the money and funds

13 paid in connection with their enrollment and attendance at University of Phoenix through

14 graduation, and thereby fraudulently obtained possession of money from Plaintiffs.

15           193.   Further, Defendants have not only defrauded Plaintiffs of said property, but they
16 have also knowingly withheld this property from Plaintiffs, with knowledge that the property was

17 fraudulently obtained. Plaintiffs sent Defendants individual letters advising Defendants they have

18 violated the CLRA and must correct, repair, replace or otherwise rectify the violations of
19 §1770. As of the date of this filing, Defendants failed to remedy these violations.

20           194.   Accordingly, Plaintiffs have been injured by a violation of Penal Code Section
21 496(a) and are therefore entitled pursuant to Penal Code Section 496(c) to three times the amount

22 of actual damages, together with costs of suit and reasonable attorney’s fees.

23                                   DEMAND FOR JURY TRIAL

24           195.   In accordance with Fed. R. Civ. P. 38 and Northern District of California Local
25 Rule 3-6(a), Plaintiffs demand a trial by jury on all issues.

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 1                                       PRAYER FOR RELIEF
 2            Therefore, Plaintiffs respectfully request that Defendants be cited to appear and answer,

 3 and that on final hearing, Plaintiffs have:

 4                 a.   Restitution;
                   b.   Economic damages, including lost opportunity costs;
 5                 c.   Punitive damages;
                   d.   Attorney’s fees through entry of final judgment in this action;
 6
                   e.   Prejudgment and post-judgment interest;
 7                 f.   Costs of this suit; and
                   g.   Any other relief that the Court finds proper.
 8
     Dated: May 13, 2022
 9
                                                  Respectfully submitted,
10
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                                                  * Pro Hac Vice motions to be submitted.
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